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                       EXHIBIT A
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      =




    THE                                                         PRIVATE ATTORNEY

 APPRENTICE                                                     GENERAL ACTION




             that never was
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                     THE APPRENTICE that never was
                                   I.     PRELUDE
Lincoln
        The relief sought from you, the reader, was first identified in the last
  speech Lincoln ever made, three days before Lincoln’s assassination. It was
  two days after the surrender of Robert E. Lee's army to Grant, ending the
  Civil War, to a crowd gathered outside the White House calling for President
  Lincoln, reporter Noah Brooks wrote, "Outside was a vast sea of faces,
  illuminated by the lights that burned in the festal array of the White House,
  and stretching far out into the misty darkness. It was a silent, intent, and
  perhaps surprised, multitude." "Within stood the tall, gaunt figure of the
  President, deeply thoughtful, intent upon the elucidation of the generous
  policy which should be pursued toward the South. That this was not the sort
  of speech which the multitude had expected is tolerably certain."
       Lincoln stood at the window over the building's main north door while
  Brooks held a light so Lincoln could read his speech.
  The Lincoln speech of April 11, 1865:
      “We meet this evening, not in sorrow, but in gladness of heart . . . . . . .
      This plan was, in advance, submitted to the then Cabinet, and distinctly
      approved by every member of it. One of them suggested that I should
      then, and in that connection, apply the Emancipation Proclamation to
      the theretofore excepted parts of Virginia and Louisiana; that I
      should drop the suggestion about apprenticeship for freed-
      people, and that I should omit the protest against my own power, in
      regard to the admission of members to Congress; but even he approved
      every part and parcel of the plan which has since been employed or
      touched by the action of Louisiana. The new constitution of
      Louisiana, declaring emancipation for the whole State,
      practically applies the Proclamation to the part previously
      excepted. It does not adopt apprenticeship for freed-people
      .......
      Again, if we reject Louisiana, we also reject one vote in favor of the
      proposed amendment to the national Constitution.
       . . . . . . . ” (emphasis added)

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        The dilemma Lincoln was facing was how to gradually eliminate
  inequality. Lincoln envisioned using apprenticeship as the Union was
  reconstructed. Lincoln recognized that freedom without the opportunity to
  earn a living would be disastrous and only lead to and did lead to misery.
  Lincoln’s proposal occurred when Louisiana wanted to return to the Union.
  Lincoln identified apprenticeship for the freed-people as the tool to repair
  and bring the freed people into the mainstream of economic opportunity.
  Lincoln recognized that freed persons had to be provided skills as workers
  through apprenticeship to assimilate them into a working, earning and
  thriving class, without which there would be immense suffering and
  damages to the freed class.
        The 10 minute speech of only 1819 words introducing the complex
  topic of reconstruction, twice identified apprenticeship for freed-people as
  a means to survive and prosper, as it was viewed through the prism of the
  State of Louisiana. Incensed John Wilkes Booth, a member of the audience
  that evening on April 11, 1865, vowed, Brooks wrote "That is the last speech
  he will make." An acknowledged white supremacist according to Brooks,
  Booth made good on his threat.
        The assassination of Lincoln by Booth 3 days after this speech,
  frustrated the proposed reconstruction opportunities: “apprenticeship
  for freed-people”, a vision not spoken of again since April 11, 1865.
  Instead, Lincoln’s nightmare of disaster and misery came true with
  lynchings, massacres, and the anarchy of Reconstruction[1] followed by the
  Jim Crow laws of separation and discrimination[2]. Out of this cauldron of
  a beginning the 14th amendment grew to ensure equal opportunity to freed-
  people, enter Roscoe Conkling.
Grant and Conkling
       Roscoe Conkling, US Congressman, and later US Senator from Utica
  New York, at a time when both US Senators from New York State were from
  Utica New York, the other Senator being Francis Kernan, Grant and


        [1] Bibliography Manuscript research reference
        [2] Bibliography Manuscript research reference

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Conkling[3] enter the story. In 1865 Vice President Andrew Johnson became
President and reconstruction of the south began. Conkling had previously
been Lincoln's collaborator and supporter in Congress for freeing the
enslaved people, and later a staunch supporter of President Grant’s efforts.
Conkling began work in earnest on the 13th, 14th and 15th amendments to the
Constitution of the United States as a member of the Congressional drafting
committee. Conkling’s focus was on the 14th Amendment. Conkling
understood the phrase "apprenticeship for freed-people” as a fundamental
natural right to work, earn, live, and pursue happiness, full equal
opportunity that should be afforded to all, including those as freed-people,
natural rights of life, liberty and pursuit of happiness.
      When Lincoln was assassinated, Conkling rose to the need to
determine and assure that the Constitution protected these rights, which
lead to the 14th amendment to the U.S. Constitution. Conkling was
instrumental to not only implementing emancipation which was granted by
the 13th Amendment, but also equal protection of the laws afforded to all
persons by the 14th Amendment. The 14th Amendment, drafted by
committee, was ratified in 1866. Conkling was a principal contributor on the
Committee drafting the 14th Amendment and its equal protection and due
process clauses.
       Conkling tried to pursue the Lincoln vision, but the 10 years after
Lincoln’s assassination, the 10 years following Lincoln’s vision of
apprenticeship for freed people, were 10 years of anarchy and lawlessness
which brought President Ulysses S. Grant and his close friend Conkling to
utter frustration. Reconstruction was failing.
      It was then that Senator Francis Kernan, on an Electoral Commission
to settle the Presidential Election of 1876, cast a deciding vote to
accomplishing the compromise of 1877 to preserve the Union, end
Reconstruction, and bring the southern states behind a compromise
presidential candidate - Rutherford B. Hayes[4]. Apprenticeship for freed
people was lost, the apprenticeship plank of Reconstruction was abandoned

      [3] Bibliography Manuscript research reference
      [4] Bibliography manuscript research reference

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  in the compromise of 1877 which ended Reconstruction[5]. Conkling had
  declined a seat on the committee knowing what the outcome was sure to be
  – there would be an abandonment all efforts to provide equality. Conkling
  later became lost as a dark figure of graft and corruption at the New York
  City Customs House, finally dying in the blizzard of 1888 walking from his
  office at Wall Street to Union Square. A sorry end, Conkling had abandoned
  his moral compass[6].
         Apprenticeship did not again resurface for the benefit of freed persons
  until the Percy Class sued in 1973 to eliminate discrimination in economic
  opportunity, eliminate segregation and eliminate disparate opportunity.
  The Percy v. Brennan lawsuit followed as a result of the civil rights
  movements of the 1960s. Percy as a Class now complains that if the Class
  had gotten what was long ago a vision called apprenticeship, a vision not
  fulfilled even 154 years later, the world would be a much different place
  today.
Franklin Roosevelt
        Apprenticeship was not formalized as a federally adopted structured
  program until the National Apprenticeship Act of 1937, and even then was
  not used as an opportunity to teach skills to disadvantaged persons.
        In 1937, the Congress passed the National Apprenticeship Act (29
  U.S.C. 50), also known as "the Fitzgerald Act." The Act established a national
  advisory committee whose task was to research and draft regulations to
  establish minimum standards for apprenticeship programs. The Act was
  later amended to permit the United States Department of Labor to issue
  regulations protecting the health, safety and general welfare of apprentices,
  and to encourage the use of contracts in the hiring and employment of them.
        Much like FDR’s Work Projects Administration (WPA), which put the
  unskilled to work building America’s airports, schools, and highways,
  apprenticeship programs can once again train the unskilled to build today’s
  infrastructure. The WPA maintained and increased working skills; and it


        [5] Bibliography Manuscript research reference
        [6] Bibliography Manuscript research reference

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  enabled the unskilled to take their rightful places in public or in private
  employment.
        The Fitzgerald Act is administered by the Employment and Training
  Administration in the Department of Labor. Regulations banning racial,
  ethnic, religious, age and gender discrimination in apprenticeship programs
  are located at Title 29, CFR Part 30, but did little to foster affirmative action
  for equal employment.
        Unfortunately, even though apprenticeship was formalized as a
  federally adopted structured program under the National Apprenticeship
  Act of 1937, it was not used as an opportunity to teach skills to disadvantaged
  persons.
Lyndon B. Johnson
        President Johnson is credited with the Civil Rights Act of 1964 and
  LBJ’s Executive Order 11246.
       The term affirmative action arose from Johnson’s 1965
  commencement speech at predominantly black Howard University when
  speaking about the adoption of the Civil Rights Act of 1964, President
  Johnson declared that equality has to be actual equality, not equality in
  name, when he said:
        “You do not take a man who, for years has been hobbled by
        chains, liberate him, bring him to the starting line of a race,
        saying you are free to compete with all the others, and still justly
        believe you have been completely fair. Thus, it is not enough to
        open the gates of opportunity. All our citizens must have the
        ability to walk through those gates. This is the next and the more
        profound stage of the battle for civil rights. We seek not just
        freedom but opportunity--not just legal equity but human
        ability--not just equality as a right and a theory, but equality as
        a fact and a result.”
       Equal opportunity at its core carries the simple mandate that
  opportunities should be open to all on the basis of competence alone. This
  complaint is that the Percy Class lacks the minimum training, skills and
  preparation needed to be eligible for the jobs that become available, and
  those who do secure work as a result of affirmative action mandates are
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often unable to keep their jobs and the dignity of work.
      Apprenticeship is the bedrock foundation upon which our country and
freedom is based. Opportunity to gain basic work skills is necessary. But
equal opportunity to gain skills doesn’t exist in many instances, exposing
unskilled workers and the public to unmanaged risk, one example is the
recent virus pandemic and its rapid spread.
      Apprenticeship, identified as affirmative action, is the natural right of
all peoples because “The greatest wealth results from the greatest economic
liberty, freedom of all individuals to work, save, buy, and earn at their
pleasure, and economic life would settle into a natural order and
productivity would thrive.”[7]. A natural right identified in the Declaration
of Independence, the US Constitution and the 14th Amendment to the US
Constitution mandating equal protection of laws that affect these rights,
Apprenticeship envisioned in Abraham Lincoln's forgotten last speech, from
the balcony of the White House to a crowd gathered on the White House
Lawn at the end of the Civil War, twice envisioning apprenticeship for freed
people to gradually reconstruct the nation, yet in the 155 years since, not
only has it not occurred, it has been thwarted by the Defendants.
                      II.     EXIGENT CIRCUMSTANCES
       Apprenticeship, foreseen by Lincoln 155 years ago as the way to
restore our society, a large portion of society out of the economic
mainstream, if we continue to fail to heed the Lincoln advice in the Prelude,
the crisis will only get worse. Unpreparedness by the Percy Class by lack of
skills and competency in all jobs and careers, will most certainly further
endanger workers, especially first responders, the communities they serve
and the general public.
       The current, disturbing, almost outrageous national emergency has
propelled this action. This historic crisis is made worse by lack of knowledge,
skills and personal attributes needed to perform basic jobs well.




       7 The Wealth of Nations by Adam Smith, studied and emulated by Jefferson and the Franklin over

two centuries ago

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                UNITED STATES DISTRICT COURT for the
                  EASTERN DISTRICT OF NEW YORK
     ALBERT E. PERCY,                                 THE
                   Plaintiff,                    APPRENTICE
     -against-                                     that never
     ANDREW M. CUOMO as Governor of the State of      was
     New York; STATE OF NEW YORK; ROBERTA
     REARDON as Commissioner of the New York State
     Department of Labor); NEW YORK STATE
     DEPARTMENT OF LABOR; CRAIG E. LEEN as
     Director of the Office of Federal Contract
     Compliance, OFFICE OF FEDERAL CONTRACT
     COMPLIANCE;
                   Defendants from SDNY 73-cv-04279,        COMPLAINT
     EUGENE SCALIA as United States Secretary of                   `
     Labor; THE UNITED STATES DEPARTMENT OF                     CASE#:
     LABOR; BUILDING AND CONSTRUCTION
     TRADES COUNCIL OF GREATER NEW YORK,
     NEW YORK BUILDING; AND CONSTRUCTION
     INDUSTRY BOARD OF URBAN AFFAIRS FUND,
     NEW YORK PLAN FOR TRAINING, INC.,                       A PRIVATE
                nominal Defendants previously                ATTORNEY
                named as Defendants in SDNY 73-cv-           GENERAL
                04279, as their interests may now             ACTION
                appear,
     JOHN MERCADO, MANUEL MEJIA, FIGHT
     BACK, and NATIONAL ASSOCIATION FOR THE
     ADVANCEMENT OF COLORED PEOPLE,
                nominal Defendants previously
                named Plaintiffs in SDNY 73-cv-
                04279, as their interests may appear,
     ORISKA INSURANCE COMPANY and ORISKA
     CORPORATION,
               Defendants.


     Plaintiff, Albert E. Percy, by and through his attorney, James M.
Kernan, Esq., of the Kernan Professional Group, LLP, as and for its
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   Complaint states as follows:
                 III. COMPLAINT INTRODUCTION
1. This Complaint is on behalf of Plaintiff Percy and the Class he represents.
   Procedurally, this class litigation is being commenced in the five boroughs
   (“Five Counties”) of the City of New York, where Percy started his original
   action Percy v. Brennan 73-cv-04279. Building on that footing, seeking here
   to enforce the relief awarded to the Percy Class in Percy v. Brennan 73-cv-
   04279, is this plenary action as above captioned in the US District Court in
   the Eastern District of New York.
2. Armed with skills, able to be called upon to carry out emergency work
   activities, applying new ways and advances in technology, using sound
   judgement, demonstrating speed and accuracy needed to meet the needs of
   a crisis, increasing job complexity, challenges employers to recruit and
   retain a job-ready workforce.
         Now more than ever there is a desperate need to build skills necessary
   to protect the safety and well-being of frontline trusted workers in the
   unselfish work they are called upon to do for the communities and public
   they serve. This historic crisis is made worse by lack of knowledge, skills and
   competency in the workforce, a problem needing to be immediately
   addressed as described in this Complaint.
         As we stand now, we are not prepared.
3. This undertaking seems massive and profound, and it is, reference the
   PRELUDE. We have been probing, drilling and pile driving on behalf of
   Percy, deep into the history of affirmative action and equal employment
   opportunity to find out why it fails. Each time we think we have reached a
   solid foundation to build from, only to find we have not reached bedrock.
   Learning and adjusting we are now sitting on a solid foundation of Percy v.
   Brennan Case 73-cv-04279.
4. The lead cause of action in this Complaint is against defendant State of New
   York for failure of a settlement involving New York State Executive Order 45
   (9 NYCRR 3.45) (“EO 45”). This action is grounded upon the final and
   enforceable Memorandum/Order (“Memorandum/Order”) of Judge Lasker
   reported at 384 F Supp 800 of November 8, 1974, settled by agreement
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   accepting Defendant New York State’s offer of EO 45. The problem is that
   EO 45 failed, and the Percy Class was never notified (paragraph 219 - 224).
5. The causes of actions against each employer (“Employer(s)”) identified in
   tag-along actions, involve the liability of each Employer for unlawful
   employment practices of discrimination where the Plaintiff is able to meet
   its burden of production and persuasion proving that there was a less
   discriminatory alternative method of employment practice available that the
   Employer could have adopted, failing to adopt the alternative employment
   practice without valid justification is an unlawful employment practice
   violating 42 U.S.C. § 2000e-2(k)(1)(A)(ii) and (k)(1)(C) of the Civil Rights
   Act of 1964 as amended in 1991.
6. Moreover, an Employer with contracts receiving federal funding, liability of
   such an Employer is for breach of contract where such Employer has
   breached contractual conditions requiring compliance with Presidential
   Executive Order 11246 (“EO 11246”). Members of the Percy Class are
   beneficiaries identified in contracts as conditions and obligations where
   Federal Funding (“Federal Funding”) is involved.
7. This action enforces an alternative employment practice ("XI.
   ALTERNATIVE EMPLOYMENT PRACTICE" paragraphs 153 - 181 of
   this Complaint), on behalf of the Percy Class.
8. Damages to the Percy Class for lost wages, for lost opportunity
   compensation, damages also affecting members of the Percy Classes’
   children and families, significantly disadvantaged in education and skills,
   struggling to get a job, not able to compete for jobs and employment based
   on skills and not by mark of the color of a person’s skin or ethnicity.
            IV.    PRIVATE ATTORNEY GENERAL ACTION
9. This action is brought as a private attorney general action as permitted by
   42 U.S.C. 1988, to enforce certain federal laws, contracts, commitments,
   obligations and covenants to provide affirmative action for equal
   employment to correct disparate impact, low wages with few fringe benefits,
   minimal levels of training, and the lack of a career ladder, contributing to a
   chronic workforce shortfall, being caused by the neglectful use of Federal
   Funding thereby impacting not only the Percy Class and safeguarding the
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   welfare of apprentice workers, but as well the general public good. The New
   York State Department of Law and the US Department of Justice have failed
   to move against the Defendant Government Agencies, Owners and
   Employers, as hereinafter set forth.
                            V.   CLASS COUNSEL
Percy has retained counsel particularly experienced and qualified to
bring this action
10. I, James M. Kernan, speak in the first person as the attorney bringing this
    action, aided by the Advocates identified at paragraph 153 hereof, on behalf
    of the Percy Class as a private attorney general action.
11. I first became involved in the issues herein in 1978 when I was recruited to
    provide assistance in the preparation of affirmative action apprenticeship
    training to address the Percy v. Brennan Case 73-cv-04279.
12. My experience with the subject of apprenticeship training began in 1968
    when, subject to the lottery draft, I enlisted in the US Marine Corps and
    reported to the Parris Island Recruit Depot assigned to Platoon 1039 for
    boot camp basic training, graduated on December 8, 1968 and reported for
    infantry training at Camp Lejeune North Carolina.
13. I received advanced infantry training at Camp Lejeune/Camp Geiger North
    Carolina and ordinance ammunition training at Quantico Virginia. Based on
    competitive testing I was offered an appointment as a Midshipman in the
    US Navy pursuant to Title 10 §2107 of the US Code for commissioning as a
    Second Lieutenant in the US Marine Corps trained for field combat
    engineering.
14. I accepted and reported to the Navy Department's attachment at Rensselaer
    Polytechnic Institute (RPI) for engineering training, which would change
    my MOS from 2311 Ordnance to 3102 Combat Engineer Officer.
15. Orders were in preparation for me to report to the First Marine Combat
    Engineering Battalion of the First Marine Division for permanent duty
    station Pendleton, California upon being commissioned as a Second
    Lieutenant, for processing and deployment as engineering reinforcements
    to South Vietnam. Then, in the early months of 1971, enemy engagement

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   ceased and the US withdrew from South Vietnam, combat engineering
   strength went from more than 20,000 to by May 1971 of less than 1000. On
   May 24, 1971 the First Marine Combat Engineer Battalion withdrew from
   South Vietnam and shipped back to Pendleton, California. The last Marine
   Corps ground action in Vietnam was in May 1971. The withdrawal which
   began on January 1, 1971 was complete by the end of May 1971. This was at
   the same time that anti-war protests were reaching their peak and on June
   13, 1971 the Pentagon Papers began to be published by the New York Times.
16. When Field combat engineers were no longer needed in South Vietnam,
    preparations for my deployment ceased. Instead I was offered the option of
    a duty station stateside or I could decline the commission and retire from
    military service. On June 21, 1971, I volunteered to forego the commission
    and retire. My discharge rating on a scale of 1 to 10, was scored 9 on
    intelligence, with a "Highly Recommended" “evaluation to be considered in
    the future for determination of acceptability for other officer training”, with
    remark pertaining to the evaluation that "Kernan has demonstrated
    excellent potential for leadership".
17. On July 8, 1971 I was released from duty by the Department of the Navy and
    with my DD214 Honorable Discharge from enlisted ranks of the US Marine
    Corps, I mustered out. I put my uniforms in mothballs and put my military
    service behind me; it was a single line on my resume. In those days from
    1968 to 1971 it was not cool to be in the military, the un-welcome to Vietnam
    era vets. I now have a renewed pride in having served honorably as a United
    States Marine. I have become a member of the American Legion, Vietnam
    Veterans of America, the Marine Corps League and the Commander of the
    Battle of Oriskany Masonic War Vets, regaining pride in my military service.
18. I did not then recognize that my military service was the underpinning for
    what has become Percy Jobs to Careers. In civilian life over the next 40
    years, I have put my military experience and training to use with Percy Jobs
    to Careers.
19. I left military service returning to civilian life as a veteran trained as a
    combat engineer in demolition, explosives and ordnance, skilled in civil and
    mechanical trades for demolition support, field construction of machinery,
    structures, systems and controls. I took a civilian job as a field explosive
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   demolition engineer supervising blasting and drilling crews. After working
   in the field, I was transferred to the main headquarters of Hercules Inc., a
   chemical and explosives manufacturer formerly affiliated with DuPont,
   located in Wilmington, Delaware.
20. I completed my BS degree in mechanical with civil engineering from
    Rensselaer Polytechnic Institute in 1972. I was promoted in 1974 to Senior
    Engineer at Hercules, Inc. I served four-years as an engineer-in-training
    apprentice with advanced placement for military service and training in
    civilian work, enabling me to sit for the engineer-and-training and
    professional engineering exams simultaneously, and upon testing in 1976
    became licensed as a Professional Engineer in Delaware and New York.
21. While working for Hercules, I attended night law school, completing in 1976.
    I sat for the New York bar exam and was admitted to the practice of law in
    New York in 1977.
22. When I was recruited in 1978 to consult on benefits with the Percy attorney
    Dennis R. Yeager Esq., now deceased, I worked with the team pursuing an
    apprenticeship program based on a 1974 award by Judge Lasker of the
    Federal District Court for the Southern District of New York, which required
    affirmative action for equal employment opportunity by apprenticeship
    training in enforcing Presidential EO 11246, a class action brought by Albert
    Percy, Class Representative for the Percy Class. My role was to provide
    technical research on apprenticeship needed to implement the award by
    Judge Lasker.
23. In 1979, I was recruited as a junior attorney by Judge Walter F. Bliss, retired
    Judge of the Third Department Appellate Division New York State Supreme
    Court, the designated appellate court considered expert on Workers’
    Compensation issues. In 1981, after the conclusion of the Percy v. Brennan
    Case 73-cv-04279, an adverse decision was issued by the Appellate Division
    Fourth Department of the New York State Supreme Court in a case brought
    by the New York State Department of Labor against Lancaster Development,
    Inc., Madden Construction, Inc., and Eastern Rock Products, Inc. The
    Lancaster decision, Lancaster Development, Inc. v. Ross 82 A.D.2d 1013,
    identified the need for a framework to provide employee benefits, including
    apprenticeship, to meet supplemental wage benefit requirements in
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   compliance with the New York State Labor Law §220 and the federal Davis-
   Bacon Act 40 USC §§276a to 276a-5. We undertook to develop a plan to fit
   the framework required of Percy v. Brennan.
24. With my knowledge of trade skills, I developed OJT apprenticeship to meet
    the affirmative action demands of case of Percy v. Brennan within the
    framework of the Federal Davis Bacon Act of 1931, the Apprenticeship Act
    of 1937, and New York State Labor Law.
25. This became the Percy Program (paragraphs 241 – 274, paragraphs 275 –
    276, and paragraph 275 – 280 of this Complaint) providing benefit
    programs in compliance with the US Davis-Bacon Act (40 USC §§276a to
    276a-5) and Article 8 of the New York State Labor Law, providing 24 hours
    of protection for health, disability, medical care and lost wages, encouraging
    workers to stay with their employer. The Percy Program fosters depth of
    experience and skill in the workforce.
26. I continued on a career path which began with OJT apprenticeship,
    advancing to a career where I founded Percy Jobs to Careers, creating a
    pathway for anyone to advance, which includes rewarding skilled trades,
    advancement to business ownership and beyond, an individual’s choice.
27. My career path was as a junior attorney with skills in the crafts and
    professional engineering, developing OJT apprenticeship to meet the
    demands of affirmative action of the case of Percy v. Brennan, eventually
    becoming Percy Jobs to Careers Apprenticeship Training 501(c)(3) non-
    profit entity and the entities and facilities described as the Percy Program.
28. For 40 years I have been involved with Apprenticeship under the National
    Apprenticeship Act of 1937. Apprenticeship under the National
    Apprenticeship Act of 1937 can occur by three methods: (1) through a joint
    apprenticeship labor-management counsel involving unions, (2) by
    sponsorship by an employer, or (3) by sponsorship by a trade association.
29. I have developed Apprenticeship for various occupations through a trade
    association and by individual employer sponsors, involving learning a
    skilled occupation through both on-the-job training (practical, paid
    experience) and learning the related technical knowledge in a classroom
    (related classroom). The Percy Program which included apprenticeship was
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   developed to address the Percy vs Brennan decision and the adverse
   Lancaster decision and to provide affirmative action that would benefit
   employees on public work projects and it was submitted for approval to the
   Defendant United States Department of Labor.
30. By a letter of direction to me of June 14, 1984, the United States Department
    of Labor, Employment Standards Administration Wage and Hour Division
    advised that the provisions of the Program and their accompanying trust
    and adoption agreements were reviewed and it was the opinion of the United
    States Department of Labor that they qualified as “bona fide” fringe benefit
    plans within the meaning of the Davis-Bacon Act and the applicable
    regulations of 29 CFR Part 5. That craft apprenticeship for workers training
    to attain journeyman status was allowed to be offset against the fringe
    benefit requirements only if the US Bureau of Apprenticeship and Training
    (BAT) or the appropriate State apprenticeship council recognized by BAT
    has approved the apprenticeship program.
31. I have represented the Percy Class in presenting an Alternative Employment
    Practice, now as the complaining party under 42 U.S.C. § 2000e–
    2(k)(1)(A)(ii), meeting the Plaintiff’s burden of persuasion as the requisite
    demonstration described in subparagraph (C) as required by 42 U.S.C. §
    2000e–2(k)(1)(A)(ii).
32. I chartered Oriska Insurance Company (“Oriska”) and obtained licenses to
    write workers’ compensation insurance, health and disability coverage with
    deductible loss sensitive provisions, along with Fidelity & Surety Bonding,
    the Percy Program. In fact, Oriska is the only carrier in the country with the
    licenses and authority to offer the Percy Program, Oriska Insurance
    Company was chartered in 1990 and received licenses in 1993 for the
    following lines of business: Health & Disability, Workers' Compensation,
    Fidelity & Surety Bonding, and Credit Unemployment Insurance, along with
    additional miscellaneous licenses.
33. On January 25, 1991, I obtained association approval for Oriska Corporation
    as an apprenticeship sponsor under regulation [part 601] and Article 23 of
    the New York State Labor Law, qualified under the 1937 National
    Apprenticeship Act section 1 (29 U.S.C. 50) under U.S. Department of
    Labor's Bureau of Apprenticeship and Training (BAT) and C.F.R.T. 29, Subt.
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   A, Pt. 29 and Pt. 30. (the Fitzgerald Act). Registration of the Percy
   Apprenticeship Program under the regulation 12 N.Y.C.R.R. 601.8 that
   existed when the Oriska Corporation program was registered, remains in
   full force and effect
34. In 1991 I established apprenticeship programs as an Alternative
    Employment Practice to be provided with workers' compensation insurance
    coverage as part of risk-management and loss control by the insurance
    carrier. All employment is covered by workers’ compensation insurance.
    The Alternative Employment Practice set forth herein at (XI.
    ALTERNATIVE EMPLOYMENT PRACTICE" paragraphs 153 – 218,
    (XVI. THE PERCY PROGRAM, paragraphs 241 – 274, XVII.
    COMPONENTS OF PERCY PROGRAM paragraphs 275 – 276, XVIII.
    REGULATORY APPROVALS OF PERCY PROGRAM paragraph 277
    – 280 of this Complaint), of this Complaint, incorporates apprenticeship
    training into the workers’ compensation insurance risk management, loss
    control and safety training of employees, by enrolling new entrants to the
    workforce to work alongside existing journeypersons, growing the depth of
    skilled workers, skilled workers whose ranks are being diminished through
    age and attrition. The workers' compensation carrier subsidizes the
    apprenticeship programs by recognizing the savings in reduction of losses
    which reduces the exposures and liabilities of the claims required to be paid
    by the workers' compensation insurance carrier.
35. I developed work processes for on-the-job training and related classroom
    instruction for skilled trades: carpenter, heating, ventilating and air
    conditioning, plumber, steam fitter, mason, steelworker, roofer, operating
    engineer, electrician, and skilled laborer. In development are personal care,
    health care workers, nurse aide, activity director, dining services,
    environmental services, home health aide, rehabilitative aide, medication
    aide, hospital maintenance worker, emergency medical technician,
    firefighters and other first responders, the list is virtually unlimited and
    supported by the library of the United States Department of Labor and the
    Library of Congress.
36. This Alternative Employment Practice gives the Percy Class an opportunity
    to compete for employment based on skills rather than the color of one’s
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   skin or ethnicity. This Alternative Employment Practice was proposed by the
   Percy Class to the Defendant Government Agencies, paragraphs 172 – 181 of
   this Complaint.
37. Such apprenticeship includes on-the-job (“OJT”) training working
    alongside an experienced craft person who is able and willing to transfer
    their know-how to inexperienced, although enthusiastic apprentices as the
    apprentice learns by doing the tasks of the craft. An acceptable
    apprenticeship program is vigorous and comprehensive and takes many
    years for an apprentice to fulfill the requirements as established by
    Defendants EUGENE SCALIA, Secretary of Labor, THE UNITED STATES
    DEPARTMENT OF LABOR through its US Bureau of Apprenticeship
    Training, ROBERTA REARDON, Commissioner, NEW YORK STATE
    DEPARTMENT OF LABOR, NEW YORK STATE DEPARTMENT OF
    LABOR, as delegated to the New York State Department of Labor.
38. I received a designation as an Associate in Fidelity & Surety Bonding by the
    Chartered Property and Casualty Insurance Underwriters Society. I also was
    a confidential law clerk to New York State Supreme Court Justice John R.
    Tenney, sat as Village Justice for the Village of Oriskany, NY, sat as acting
    City Court Judge in the City of Utica, NY, and was on the panel of arbitrators
    of the American Arbitration Association.
39. I have been a certified risk control and return-to-work specialist under New
    York State Department of Labor Industrial Code Rule 59 & 60 since 1997. I
    analyzed risk exposure for employer business operations, reporting, and
    recommending methods to reduce exposure with follow-up verifying
    implementation.
40. In 1999, I was appointed by the Commissioner of the New York State
    Department of Labor to the Apprenticeship Training Task Force to establish
    guidelines for classroom instruction in the skilled trades, representing
    disadvantaged persons in relation to apprenticeship and bonding.
41. I was appointed by former US Secretary of Labor Alexis M. Herman as a
    member of ERISA §3(40) Negotiated Rulemaking Advisory Committee, for
    the first rulemaking undertaken by the United States Department of Labor
    Pension & Welfare Benefits Administration. I was awarded a commendation

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   by Secretary of Labor Herman in April 2000 for my two years of voluntary
   pro bono work on the Rulemaking Committee, which ultimately resulted in
   the publication of the ERISA §3(40) Rule.
42. As early as 1994, through the specialized, flexible multi-line property and
    casualty company, Oriska Insurance Company, I initiated a successful
    bonding program guaranteed by the US Department of Transportation and
    the US Small Business Administration which ran from 1998 through 2002
    for independent entrepreneurs, minorities, women, and small and
    disadvantaged business enterprises.
43. A Judgment (“Judgment”) of December 14, 2007 of the New York State
    Supreme Court Oneida County against the State of New York in favor of
    Oriska, in case CA2006-001542 based upon a Stipulation (“Stipulation”) in
    open court of December 10, 2007, provides relief to the Percy Class.
44. The litigation involving State agency New York Department of Financial
    Services ("DFS") and Oriska resulted in a settlement on December 14, 2007
    before the Hon. Robert Julian where it was stipulated in open Court,
    pursuant to CPLR §2104, that the dispute between Oriska and the DFS was
    a matter of statutory accounting and that Oriska’s accounting was
    acceptable and the Department agreed not to pursue any further actions or
    proceedings against Oriska based upon an alleged insolvency. Most
    important is that Judge Julian found (and the State agreed and stipulated
    on the record) that “the superintendent has not determined and has not
    alleged that the current management of Oriska in untrustworthy or
    dishonest.” The Action for Receivership of Oriska was dismissed with
    prejudice.
45. The State is bound by the Stipulation establishing credit to be allowed Oriska
    in accordance with Regulation 11 NYCRR 176 which adopted the Statement
    of Statutory Accounting Principles (“SSAPs”) into law in New York and in
    particular SSAP 65 paragraphs 34-39. The multiple-coordinated policies
    under the Percy Program as set forth in the 1994 Approval by the DFS,
    updated at the time of the Stipulation and Judgment to the 2007 approval
    by the DFS of Endorsement WC990602(11/07)NY referenced in the
    Stipulation, is binding on the State under the Stipulation.

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46. A Report of Examination of Oriska Insurance Company of June 15, 2012 (the
    “Report”) issued from DFS again alleged that Oriska was insolvent.
47. The issue of trustworthiness of management of Oriska, as raised at page 12
    of the Report, was resolved and settled by the Stipulation and Judgment as
    set forth on at page 3 of the transcript that there was “no dishonesty or
    untrustworthiness” on the part of management of Oriska.
48. The Stipulation of accord and settlement on the record before the Court by
    the State and Oriska, is based on the Percy Program and is enforceable under
    CPLR 2104.
49. The Percy Program as an Alternative Employment Practice under the Civil
    Rights Act was developed specifically to address EO 11246, and it is intact
    and viable. Nevertheless, neither Percy nor other members of the Percy
    Class received or are receiving the relief contemplated by Judge Lasker in
    his decision of November 4, 1974. It is irrational and illogical to just assume
    that a business which is owned by a minority will, when awarded contracts
    as a goal, will then out of the goodness of their heart hire their ilk. No, even
    they want to hire skilled workers able to make their businesses profitable.
    Hiring is because of a person’s skills and capability, not because of the color
    of a person's skin or their ethnicity.
50. Technicians must be able to use the tools necessary in order to yield the best
    results in relation to the skilled crafts. This can only happen by having the
    best trained craftsman with specialized skills, training and experience in the
    industry. Specialized personnel, required to work in extreme and often
    isolated work conditions and locations must maintain safety and
    responsibility under harsh conditions and must be able to use material,
    equipment and innovation in planning and organizing. Trained personnel,
    materials and equipment are necessary to maintain facilities relied on by the
    general public for basic everyday needs of clean water, sewage treatment
    and electrical power distribution. Trained personnel must be knowledgeable
    in safely using structural materials to deliver those utilities by pipe, conduit,
    component parts, pumps, controls, belts, and knowledgeable in the
    mechanics of materials and methods utilizing pressurized systems and
    pneumatic tools, exposed to blood borne pathogens and virulent viruses
    now of great concern.
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51. There are a wide variety of specialized jobs in many diverse industries
    requiring highly skilled employees, dependent on the ability of members of
    a team to properly produce results with a qualified team of technicians,
    mechanics, and engineers.
52. Working on a team under special circumstances alongside an experienced
    journeyman, an apprentice finds out what it takes to get the job done and
    move up in rank to more sophisticated and higher-paying jobs, possibly
    eventually becoming supervisors, owners of businesses or industry leaders
    as a result of their valued experience.
53. Everyone starts out at the bottom of the ladder in a scale of pay
    commensurate with entry level positions, experiencing all the duties and
    responsibilities beginning with the basics of cleaning up and setting up for
    work processes. There are long work hours and the work is generally hard
    but the pay is good starting out. Then, with the proper training, promotion
    to higher-paying and more responsible positions, which occurred for me in
    a relatively short period of time.
54. Mechanical tasks are needed to take care of equipment and facilities,
    checking for faults and leaks in pipes and fittings, using manual wrenches,
    compressed air tools and installing, starting up, repairing and maintaining
    pump and engine parts that are needed to service the utilities which the
    public relies upon, but take for granted. All of the jobs work as teams or with
    experienced craft persons. Even an entry-level worker must have good
    knowledge of mechanical systems, be skilled at working with hand and
    power tools, as well as able to repair any tool that breaks. Training in safety
    protocols and emergency procedures is an absolute must. Knowing how all
    equipment and systems work and the importance of knowing production
    methods is essential, along with the ability to check and maintain systems
    and machinery daily, while on the job, for upkeep and maintenance.
55. Many jobs depend on the way that teams are set up under the supervision of
    a skilled journeyperson, manager or tool-pusher. Responsibilities include
    getting the work done safely, efficiently and within regulations set down by
    government and company authorities. The work requires excellent
    organizational skills, communication and listening skills to be capable of
    working quickly with an eye for detail. A worker who is new to a worksite
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   and facility must be able to work well with others in order to develop good
   teams capable of working efficiently together, and to sort out which teams
   are not working to the best capacity as a team.
56. The workers and members of the team must be responsible for operations,
    hoisting equipment and managing the work floor, which may include
    breaks, monitors, throttles for equipment, measurements, reading and
    other feedback from equipment to allow adjustments to be made and tuned
    as they become necessary. A supervisor or journeyperson working with new
    recruits must assure that the team is aware of the safety measures and that
    all are followed to the letter, with regular safety drills and meetings being
    scheduled by a foreman or supervisor for all personnel, to make sure that
    the rules are being closely monitored and followed.
57. A supervisor is a journeyperson who oversees the entire operation who
    started out low on the ladder before graduating through the hierarchy of the
    team, starting out as a trainee apprentice learning about the trade in a
    classroom and on-site. The experience is accomplished under the watchful
    eye of a journeyperson trainer. After learning the basics of the trade, workers
    can move up to positions with more duties, responsibilities and pay, taking
    on more specialized duties on the job site which require additional training
    and certification in particular fields of specialized trades, becoming a
    qualified member of a work team.
58. A dependable and smooth-running group of teams is created by having
    craftsman who have learned their job by coming up through the ranks.
    Constraints and vigorous apprenticeship training provide the level of
    experience that a worker can draw from, while handling the many
    responsibilities of the team and honing superior leadership skills while on-
    the-job.
59. Managerial skills require precise organizational practices with a background
    of courses and related classroom instruction, which include safety,
    management and organizational skills as well as ongoing training
    throughout the career to keep abreast and maintain knowledge of new
    equipment, systems, safety and regulatory changes, first-aid, fall protection,
    dangerous conditions, infectious diseases, hazardous materials, rescue and
    other training courses needed.
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60. There are many paths of advancement, but a person must be on-the-job in
    order to obtain the necessary skills for advancement.
61. The work requires that the craft person be physically fit and have a strong
    work ethic which allows continuation until a job is done, not quitting
    halfway through. The public are relying upon basic utility systems and the
    workers who maintain them to be capable of doing the work and
    undertaking these important duties. They must be able to work outdoors
    and in inclement conditions for long periods of time, regardless of weather
    conditions where the work is hard, but the compensation is worth the effort.
    Workers must be capable to control, listen, maintain, check regularly for
    vibration and other operational problems and keep equipment in good
    repair, inspecting all aspects of their operation while helping out with
    training new team-members.
62. Industries have many diverse fields of experience that constantly require an
    influx of trained and experienced personnel to help keep industries going.
63. Today there is an obvious shortage of skilled labor. If the Percy Class had
    received the promised apprenticeship, people who need jobs today would
    have the skills to compete for rewarding and good paying jobs.
64. Today, Percy continues as the class representative to develop skilled persons
    trained and capable of keeping society’s infrastructure functioning. This
    cannot happen without the educated, skilled, salt of the earth, labor of
    hardworking Americans. But nothing is possible without proper training
    and safety.
65. This action has been brought on behalf of similarly situated persons alleging
    that Government Agencies and authorities, Owners and Employers, in
    violation of various statutory and common laws, failed to implement the
    regulations and executive orders which guarantee the right to equal
    employment opportunities under the Civil Rights Act of 1964 and as
    amended in 1991, when presented with a demonstrated Alternative
    Employment Practice which the Employers and Owners failed to adopt.
66. Now the Percy Class as the "complaining party" produces and persuades to
    demonstrate an Alternative Employment Practice, paragraphs 153 et seq of
    this Complaint, by providing fully compliant apprenticeship meeting the
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   requirements of the National Apprenticeship Act of 1937, incorporating OJT
   apprenticeship into workers’ compensation insurance safety, risk
   management and loss control as the vehicle to alleviate disparate impact.
   This is the Alternative Employment Practice.
67. The skilled trades are in constant need of new and experienced personnel
    able to handle the many changing aspects of the industry where the range of
    experience required for workers is always evolving. Continuing education
    will allow employees to be trained and be up-to-date on new equipment and
    methods and to be able to handle the day-to-day operations that all depend
    upon.
68. As recited above, the Percy Program was chartered in 1990 and received
    licenses in 1993 for the following lines of business: Health & Disability,
    Workers Compensation, and Fidelity & Surety Bonding.
69. The Program provides surety bonds for independent entrepreneurs, small
    and disadvantaged business enterprises and provides for mentoring of each
    of the independent entrepreneurs it writes for whom it writes a bond,
    considering the human aspect of work product, job performance and growth
    through performance as has been and will continue to be fostered and
    mentored through the unique Percy Program.
70. Carl Evans with Irving Hurdle, Webster Gillory, Walter Fauntroy, Roger
    Edmunds, Anthony Robinson, and Lynette Barnhardt, and myself as
    counsel to Percy (the “Advocates” referred to at paragraphs 153 - 154
    hereof), comprised a team working presenting the Alternative Employment
    Practice to the Defendants, all to no avail because the Defendant
    Government Agencies and authorities have refused the plight of the Percy
    Class, frustrating the Alternative Employment Practice, failing to enforce
    EO 11246 and the mandates of the Civil Rights Act.
71. I am working with the Minority Business Enterprise Legal Defense &
    Education Fund (“MBELDEF”), an organization that seeks to protect the
    civil rights of disadvantaged persons, including the right to equal
    employment opportunity, and they as well as I am experienced in this type
    of litigation brought by the Percy Class.


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72. We (myself as Class Counsel, the Advocates and the Percy Class) seek
    declaratory. injunctive and monetary relief so as to be able to compete fairly
    for jobs based on ability, rather than skin color or ethnicity.
73. We bring this action to compel the adoption of the proposed Alternative
    Employment Practice, of providing OJT apprenticeship training within
    workers' compensation insurance safety training, loss control, and risk
    management provided to Employers, made a part of workers' compensation
    coverage required of all employment on which EO 11246 and the Civil Rights
    Act of 1964, as amended in 1991, are applicable.
74. We bring this action seeking equitable relief to enforce the Alternative
    Employment Practice and we seek money damages in the tag-along actions
    identified at paragraphs 235 - 238 of this Complaint.
75. The Percy Class is represented by a legal team experienced in this struggle
    and competent in civil rights litigation. Despite spending over two decades
    fighting to defend and keep the viability of the entities, licensing, authority,
    and goodwill intact. Now we are ready to step forward once again, mature
    and wise having been tested and survived, with all of the tools still in force
    and viable that were developed to implement the relief to which the Percy
    Class is entitled.
                      VI.    CLASS REPRESENTATIVE
Percy as the Class Representative
76. Plaintiff Albert E. Percy (“Percy”) has and will fairly and adequately protect
    the interests of the members of the Class. Percy has no conflict of interest
    with the members of the Class.
          Percy resides at 119-09 232 Street, Cambria Heights, NY 11411-2223,
   where he owns a residence and is an active registered voter in election
   district 70 in Queens. Percy is the Class Representative in the above
   captioned lawsuit Percy v. Brennan, 3 Civ. 4279; File # 41415384 (S.D.N.Y.)
   (filed 10/9/1973) (the “Percy Action”) for the class of all black and Spanish-
   surnamed persons identified in Percy v. Brennan.




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                                 VII.    PARTIES
PLAINTIFF:
77. Plaintiff Albert E. Percy, (“Percy”), certified as the class representative of the
    certified class by Judge Lasker in the Memorandum/Order at 384 F Supp
    800, page 811 [S.D.N.Y. 1974] in Case 73-cv-04279, Docket 99, Appendix
    1[8], Volume 3, page 663 in 17-2273 (the “Percy Class”), a proper member of
    the Percy Class, was denied equal employment opportunities, and remains
    a proper representative of the Percy Class. Percy’s personal and business
    interests and the claims hereinafter set forth are fully aligned with those of
    the Class.
DEFENDANTS:
78. Defendant Andrew Mark Cuomo has succeeded Nelson A. Rockefeller as the
    Governor of the State of New York and, as such, is the chief executive officer
    of the State of New York and is charged with the duty of enforcing equal
    employment opportunity requirements applicable in the State of New York
    and is sued in his individual and official capacities.
         The New York State Department of Financial Services is an agency of
   the executive branch of government of the State of New York under
   Governor Cuomo. On October 3, 2011, the State of New York created a new
   department, the Department of Financial Services, which assumed the
   responsibilities and authority of the former New York State Department of
   Insurance which had formerly been responsible for the regulation and
   oversight of insurance companies (referred to as the “DFS” in this
   Complaint).



         [8] Three Appendices making up the Record on Appeal, Docket #99: 17-2273
   are as follows:
   Appendix 1, Volume 1-3, Docket #97-99, contains the documents certified by
   the National Archives as docketed in the original paper docket, ECF docket
   entry 1 in the Lower Court for Case 73-cv-04279;
   Appendix 2, Volume 1-4, Docket #100-103 contains the remaining documents
   certified by the National Archives contained in the file for Case 73-cv-
   04279.
   Appendix 3, Volume 1, Docket #104 contains 2017 documents in Case 73-cv-04279
   and documents in Case 15-cv-03942 EDNY.

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         The New York State Department of Labor is an agency of the executive
   branch of government of the State of New York under Governor Cuomo,
   with Roberta Reardon as successor to Louis J. Levine as Commissioner.
        The New York State Division of Human Rights is an agency of the
   executive branch of government of the State of New York under Governor
   Cuomo.
          These State of New York parties are collectively referred to as the State
   or as the Government Agencies.
79. Defendant Eugene Scalia has succeeded Peter J. Brennan as the United
    States Secretary of Labor and, as such, is the chief executive official of the
    Defendant United States Department of Labor and is named as a nominal
    Defendant previously named as Defendants in SDNY 73-cv-04279 as their
    interests may appear here because it was a party to Case 73-cv-04279.
80. Defendant United States Department of Labor is the agency of the United
    States government that is charged with the duty of enforcing EO 11246, and
    is named as a nominal Defendant previously named as Defendants in SDNY
    73-cv-04279 as their interests may appear here because it was a party to
    Case 73-cv-04279. The Department of Labor’s Employment Standards
    Administration was dissolved and consequently the position of Assistant
    Secretary of Labor for Employment Standards no longer exists.
81. Defendant Building and Construction Trades Council of Greater New York,
    doing business at 71 West 23rd Street, Suite 501-03, New York, NY 10010,
    is an organization consisting of local affiliates of 15 national and
    international unions representing working men and women in New York
    City, and is named here as a nominal defendant previously named as
    Defendants in SDNY 73-cv-04279 as their interests may appear here as its
    interest may appear here because it was a party to Case 73-cv-04279.
82. Defendant Craig E. Leen is the Director of the Defendant Office of Federal
    Contract Compliance ("OFCC") of USDOL succeeding Phillip J. Davis, and,
    as such, is charged with the responsibility of discharging the functions of
    USDOL under EO 11246 and is sued in his individual and official capacities.
    Defendant OFCC is the Office of the USDOL that has responsibility for
    enforcing EO 11246.
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83. Defendant New York Building and Construction Industry Board of Urban
    Affairs Fund, referenced in Case 73-cv-04279 as a Defendant, no longer in
    existence, was an organization established by building and construction
    trade unions. Most, if not all of its members are also members of the
    Defendant Building and Construction Trades Council of Greater New York,
    and is named as a nominal Defendant previously named as Defendants in
    SDNY 73-cv-04279 as their interests may appear here because it was a party
    to Case 73-cv-04279.
84. Defendant New York Plan for Training, Inc. referenced in Case 73-cv-04279
    as a Plaintiff, is no longer in existence, and is named as a nominal Defendant
    previously named as Defendants in SDNY 73-cv-04279 as their interests
    may appear here because it was a party to Case 73-cv-04279.
85. Defendant the National Association for the Advancement of Colored People
    referenced in Case 73-cv-04279 as a Plaintiff, has its national headquarters
    at 4805 Mt. Hope Drive, Baltimore MD 21215, and is named as a nominal
    Defendant previously named as Defendants in SDNY 73-cv-04279 as their
    interests may appear here because it was a party to Case 73-cv-04279.
86. Defendant Manuel E. Mejia, now deceased, was a Spanish-surnamed citizen
    of the United States and a resident of the City of New York. He was a
    construction worker, fully competent to perform skilled construction work
    as an operating engineer, who was repeatedly denied the opportunity to
    perform that work by virtue of the discriminatory employment practices
    prevalent in the construction industry in the City of New York. Plaintiff
    Mejia was a named Plaintiff in the US Southern District of New York Case
    73-cv-04279, Appendix 1, Volume 1, page 5, in the Docket on Appeal 17-2273
    in Docket #97-104, and is named here as a nominal defendant as his interest
    may appear because he was a party to Case 73-cv-04279.
87. Defendant John Mercado, now deceased, was a Spanish-surnamed citizen
    of the United States and resident of the City of New York who was able-
    bodied, intelligent and fully capable of learning to perform skilled
    construction work. He was repeatedly denied the opportunity to perform
    such work by virtue of the discriminatory employment practices prevalent
    in the construction industry in the City of New York. Plaintiff Mercado was
    a named Plaintiff on the US Southern District of New York Case 73-cv-
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   04279, Appendix 1, Volume 1, page 5, in the Docket on Appeal 17-2273 in
   the United States Second Circuit Court of Appeals, Docket #97-104, and is
   named here as a nominal defendant as his interest may appear because he
   was a party to Case 73-cv-04279.
88. Defendant Oriska Insurance Company (also referred to herein as “OIC” and,
    “Oriska Insurance”) was and still is a domestic corporation chartered and
    licensed by the State of New York as a Property and Casualty Insurance
    Company engaged in the sale and writing of workers’ compensation, surety
    and fidelity bonding and health and disability insurance, maintaining offices
    at 129 South 8th Street, Brooklyn, New York. Defendant Oriska Corporation
    (also referred to herein as “OCorp”) is a New York corporation which owns
    100% of the issued and outstanding stock of OIC, does business at 6
    Pennyfield Ave, Throggs Neck, Bronx County, New York. Oriska Insurance
    Company and Oriska Corporation are sued here as their interests may
    appear. OIC and OCorp also collectively referred to as “Oriska”.
                     VIII.    BASIS OF THIS ACTION
89. The lead cause of action in this Complaint is against defendant State of New
    York for failure of settlement involving New York State Executive Order 45
    (9 NYCRR 3.45) (“EO 45”). This action is grounded upon the final and
    enforceable Memorandum/Order (“Memorandum/Order”) of Judge Lasker
    reported at 384 F Supp 800 of November 8, 1974, settled by agreement on
    May 4, 1977 accepting Defendant New York State’s offer of EO 45. The
    problem is that EO 45 failed, and the Percy Class was never notified,
    reference herein XII DEFENDANT GOVERNOR OF THE STATE OF
    NEW YORK AND DEFENDANT STATE OFFERED A
    SETTLEMENT OF PERCY V. BRENNAN IN CASE 73-CV-04279
    THAT IS UNENFORCEABLE AND FAILED.
90. .The causes of actions against each employer (“Employer(s)”) identified in
    separate related actions, involves the liability of each Employer for unlawful
    employment practices of discrimination where the Plaintiff is able to meet
    its burden of production and persuasion proving that there was a less
    discriminatory alternative method of employment practice available that the
    Employer could have adopted, failing to adopt the alternative employment
    practice without valid justification is an unlawful employment practice
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   violating 42 U.S.C. § 2000e-2(k)(1)(A)(ii) and (k)(1)(C) of the Civil Rights
   Act of 1964 as amended in 1991.
91. In addition, this action is for breach of contract brought by the Percy Class
    as third-party beneficiaries for violating conditions of contracts, including
    but not limited to EO 11246.
92. This action is on behalf of the Plaintiff Percy Class which has been
    disenfranchised and denied entry into paid on-the-job-apprentice training
    (“OJT”) to be able to compete for employment on facilities and projects
    receiving Federal Funding to the Government Agencies, under the
    supervision of the nominal Defendants Eugene Scalia , Secretary Of Labor;
    The United States Department Of Labor; Craig E. Leen, Director; Office Of
    Federal Contract Compliance, in violation of the Civil Rights Act, and
    specifically 42 USCA §2000e-2 and §2000d as amended in 1991, and in
    breach of the conditions to contracts regarding Federal Funding from the
    United States of America, and of rights secured by the Fifth and Fourteenth
    Amendments to the United States Constitution, 42 U.S.C. §§§1981, 1983 and
    1985, and Executive Order (“EO”) 11246 as provided for in contracts using
    the Federal Funding.
93. Owners and Government Agencies have merely passed the obligations
    through to Employers with goals ignoring the mandates of United States EO
    11246, as well as several other federal regulations applicable to contracts
    involving Federal Funding, causing and continuing to cause disparate
    impact discrimination that these statutes, orders, and regulations were
    designed to remedy. It would be irrational and illogical to just assume that
    a business which is owned by a so-called minority will, out of the goodness
    of their heart, hire their ilk. No. Even they would want hire skilled workers
    able to make their businesses profitable. To expect a minority business
    enterprise will hire all minorities is illusory, it doesn't happen. Hiring is not
    because of the color of a person's skin, or their ethnicity, hiring in fact and
    reality must be by skills and capability. Defendant Government Agencies
    and Owners have been ambivalent, or have intentionally or unwittingly
    provided support to others yet to be identified and not named at this time,
    who have interfered and obstructed the Percy Program’s1 sponsorship of
    OJT apprenticeship under the Fitzgerald Act (29 U.S.C. §50 commonly
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   known as the National Apprenticeship Act of 1937, section 1 (29 U.S.C. 50)
   under U.S. Department of Labor's Bureau of Apprenticeship and Training
   (BAT) and C.F.R. T. 29, Subt. A, Pt. 29 and Pt. 30.
94. Historically, the Percy Class has been locked out of the skilled trades.
    Without skills and safety training a person cannot progress from being
    unskilled, except by hands-on and rewarding OJT, to reach skilled
    occupational competence with opportunity of advancing. The members of
    the Percy Class have been and are ready, willing and able to work,
    persistently wanting to work, but have been constantly deprived and denied
    work, damaging the members of the Percy Class, and damaging the families
    of the members of the Percy Class, their children growing up in poverty,
    significantly disadvantaged in education and skills, struggling to get a job,
    damages in an amount to be determined at trial.
95. The Defendants, individually and collectively, alone and in concert with
    other still unidentified parties, cloaking themselves with the mantle of
    public service, utilized and are still utilizing all the power of the Government
    Agencies, in a malevolent effort to deny the Percy Class an opportunity to
    compete safely and effectively within the American free enterprise system.
    By reason of the foregoing wrongdoings of the Defendants, Percy as a Class
    has sustained serious, irreparable, continuing damages.
96. This action is grounded by collateral estoppel by the Memorandum/Order
    (“Memorandum/Order”) of Judge Lasker issued by the United States
    District Court for the Southern District of New York Case of Percy v Brennan
    Case 73-cv-04279, reported at 384 F Supp 800 of November 8, 1974 and set
    forth in the Docket on Appeal 17-2273 ECF Docket #99, Appendix 1, Volume
    3 of 3, page numbered 640[9], and entered by Order thereon on February
    24, 1975 in Case 73-cv-04279, Docket #99, Appendix 1, Volume 3, page 728
    (“Order”) and closed on May 4, 1977, Docket #99, Volume 3, page 740, the




         [9] The documents are paginated in the lower right hand corner to
   correspond with DOCKETED NATIONAL ARCHIVES CERTIFIED DOCUMENTS DETAILED TABLE
   OF CONTENTS at the beginning of each appendix

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   Case 73-cv-04279 settled by agreement to accept Defendant New York
   State’s offer of Executive Order 45 (9 NYCRR 3.45) (EO 45”).
97. The Second Circuit Court of Appeals in Appeal 17-2273 established that
    Percy v. Brennan Case 73-cv-04279 in the United States District Court for
    the Southern District of New York, is final[10]. Here, Case 73-cv-04279 is
    now relied on for certifying the Percy Class, thereby determining the issue
    of standing and enforceability of EO 11426 and regulations and laws in
    relation thereto in favor of the Percy Class against the Defendants by
    collateral estoppel.
98. A prior proceeding when seeking to continue Percy v. Brennan in Federal
    District Court for the Southern District of New York, was made to the
    Federal Multi-District Panel. That process was interrupted as a result of a
    ruling by District Court Judge McMahon that Case 73-cv-04279 was no
    longer a case and controversy having been closed, and she instructed “There
    will be NO REOPENING of this case. If the plaintiffs or any party wishes to
    file a new case, go right ahead.” docket #15 of 73-cv-04279. The Second
    Circuit Court of Appeals in Appeal 17-2273 affirmed that Percy v. Brennan
    Case 73-cv-04279, is final[11].
99. Tabulated and scheduled in tag-along actions are 13, 000 apprentice
    positions that should have been provided by the Employers totaling lost
    wages and benefits over $3 billion in and about the five New York City
    Counties since 2017. This Action begins with the five Counties of the City of
    New York, as the origin of this Class Action which began with Percy v.
    Brennan.
100. The Percy Program, reference herein (XVI. THE PERCY PROGRAM,
   paragraphs 241 – 274, XVII. COMPONENTS OF PERCY PROGRAM
   paragraphs 275 – 276, XVIII. REGULATORY APPROVALS OF

         [10 ] The United States Second Circuit Court of Appeals in Appeal 17-2273
   at docket #95 granted Appellants motion accepting the appendices in an appeal
   exploring whether Case 73-cv-04279 had been finally determined. The Appeal was
   dismissed at docket #138 in appeal 17-2273, establishing that the
   Memorandum/Order and Order were final.

         [11] The United States Second Circuit Court of Appeals in Appeal 17-2273
   at docket #95 granted Appellant’s motion accepting the appendices in an appeal
   exploring whether Case 73-cv-04279 had been finally determined. The Appeal was
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   PERCY PROGRAM paragraph 277 – 280 of this Complaint), the
   Alternative Employment Practice, is delivered as a function of safety and
   training with workers’ compensation under the covered payroll. The Percy
   Program as an Alternative Employment Practice functions as an element of
   a workers’ compensation coverage. Registered apprenticeship in the Percy
   Program is a function of risk-management, safety training and loss control
   of workers’ compensation insurance.
101. All employment is required to be covered by workers' compensation. Along
   with the payment of benefits to cover injury and death while on-the-job as
   required in under New York Workers' Compensation Law §10, workers'
   compensation coverage which includes registered apprenticeship with risk-
   management, safety training and loss control.
102. Workers' compensation coverage delivers the Alternative Employment
   Practice by providing apprenticeship for new hires and continuing
   education for existing employees. The Alternative Employment Practice
   provides skills to educate workers to competently and safely perform work,
   protect themselves and people with whom they come into contact. Too long
   employees have struggled without being provided the skills necessary to
   protect themselves and the communities they serve, including the general
   public with whom they come in contact.
103. The Percy Program does not require public funding. Properly run, the
   apprenticeship part of the program is funded by savings in workers’
   compensation costs resulting from safe work habits learned through
   registered apprenticeship, without extra cost to employers. This is
   accomplished by simply applying savings from reduced losses resulting
   from the Percy Program, and allocating those savings to pay for
   apprenticeship out of the premium paid for workers’ compensation
   coverage.
104. This Alternative Employment Practice meets the burden of production and
   persuasion, demonstrated as set forth at paragraphs 153 – 218 hereof.
105. Yet, members of the Percy Class have been constantly denied access to
   apprenticeship to gain skills to compete for employment, breaching EO
   11246. The Defendants the State of New York and its agencies under Andrew

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   Cuomo, Governor of the State of New York (hereinafter the “Government
   Agencies”) violated and continue to violate the Memorandum/Order and
   Order by having failed to implement the settlement in Case 73-cv-04279, in
   harmony with the Civil Rights Act of 1964, and specifically 42 USCA
   §2000e-2 and §2000d as amended in 1991 (the “Civil Rights Act”), and in
   breach of Federal Funding conditions, and of rights secured by the Fifth and
   Fourteenth Amendments to the United States Constitution, 42 U.S.C.
   §§§1981, 1983 and 1985.
Precedent, Authority and Jurisdiction
106. This Complaint is based on the record in US SDNY Case 73-cv-04279, the
   case file archived as potentially of national significance in St. Louis,
   Missouri, the case file returned from St. Louis to the National archives in
   New York City, returned upon the request on behalf of Albert Percy, to and
   certified by the National Archives to the United States District Court for the
   Southern District of New York, which record was then filed by ECF as the
   Docket on Appeal to the United States Second Circuit Court of Appeals.
107. This action seeks to enforce the United States District Court for the
   Southern District of New York Order in the Case of Percy v Brennan Case
   73-cv-04279 (the “Percy Action” or “Case 73-cv-04279” or “Percy v.
   Brennan”) reported at (384 F Supp 800 [S.D.N.Y. 1974]), the
   Memorandum/Order, rendered by Judge Lasker on November 8, 1974 in
   favor of Percy Class, brought on behalf of disadvantaged persons seeking
   affirmative action in apprenticeship and employment in the New York
   construction industry.
108. A copy of the Amended Complaint in Case 73-cv-04279 is at Docket #97,
   Appendix 1, Volume 1, page 58, Docket 17-2273 in the United States Second
   Circuit Court of Appeals. The title of Case 73-cv-04279 was changed by the
   Second Circuit Court of Appeals pursuant to FRAP 43(c)(2) and Plaintiff
   Percy was ordered to revise all of its printing to reflect this changed title
   which was done at Docket #96-104 in 17-2273, replacing Rockefeller with
   Cuomo and Brennan with Scalia, as well as other public officials where a new
   person has succeeded them in office.


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109. Standing was found by the Lasker Court in its Memorandum/Order stating
   the Percy Class has alleged “such a personal stake in the outcome of the
   controversy as to assure that concrete adverseness which sharpens the
   presentation of issues upon which the court so largely depends for
   illumination of difficult constitutional questions” citing “Baker v Carr (369
   US 186, 204, 82 S Ct 691, 703, 7 L Ed 2d 663 [1962]); (see Flast v Cohen,
   392 US 83, 101, 88 S Ct 1942, 20 L Ed 2d 947 [1968])”. In Percy v. Brennan,
   black and Spanish-surnamed workers were alleged to “have been and
   continue to be denied employment in the New York construction industry,
   demonstrating the Percy Class continues to have a personal stake”, 384 F
   Supp 800, page 808 [S.D.N.Y. 1974], 17-2273, Docket #99, Appendix 1,
   Volume 3, page 684.
110. The Memorandum/Order of Judge Lasker in the Percy Action, Percy v.
   Brennan, 384 F. Supp. 800, (S.D.N.Y. 1974), page 811 in 17-2273, Docket
   #99, Appendix 1, Volume 3, page 660, granted Plaintiffs motion to be
   maintained as a class and found standing to seek relief for the enforcement
   of EO 11246, as a class of persons that EO 11246 was designed to protect
   from injuries resulting from racial discrimination within the protections of
   the Fifth and Fourteenth Amendments to the Constitution, 42 USC 1981,
   and has met the requirements of subdivisions 2 and 3 of FRCP 23. See also,
   Docket #99, Appendix 1, Volume 3, page 653 in 17-2273.
111. The Class defined and certified by Judge Lasker in Case 73-cv-04279 was
   “all black and Spanish-surnamed persons who are capable of performing, or
   capable of learning to perform, construction work, and who wish to perform
   construction work within the jurisdiction of unions that are members of the
   Defendant Building and Construction Trades Council of Greater New York”
   with Plaintiff Albert Percy designated as the Class Representative (384 F
   Supp 800, at page 811 and also at 17-2273, Docket #99, Appendix 1, Volume
   3, Page 660).
112. The Order certifying the Class in Case 73-cv-04279 is at 17-2273 Docket 97,
   Appendix 1, Volume 3 of 3, page 640, and the final disposition of Case 73-
   cv-04279 is at Docket 97, Appendix 1, Volume 3 of 3, page 740, respectively.



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113. Percy v. Brennan Case 73-cv-04279 sought and was granted relief as
   affirmative action for apprenticeship to develop skills and equal
   employment opportunity.
114. The issues adjudicated by the Court's February 24, 1975 Order in Case 73-
   cv-04279, Docket #99, Appendix 1, Volume 3, page 728 in 17-2273 and are
   enforceable under the doctrine of collateral estoppel with respect to the
   preclusive effect asserted in this action of the Memorandum/Order of
   November 8, 1974. Plaintiff Percy Class is entitled to a declaration that the
   Defendants are precluded under the doctrine of collateral estoppel, from
   denying the standing and relief for enforcement of EO 11246.
115. This action, grounded on the record in US SDNY Case 73-cv-04279 and
   related laws and regulations identified in Percy v. Brennan 73-cv-04279, is
   now relied on for certifying the Percy Class, thereby determining the issue
   of standing in favor of the Percy Class. The issues adjudicated by the Court's
   February 24, 1975 Order in Case 73-cv-04279, Docket #99, Appendix 1,
   Volume 3, page 728 in 17-2273 are enforceable under the doctrine of
   collateral estoppel with respect to the preclusive effect asserted in this action
   of the Memorandum/Order of November 8, 1974.
116. Under the doctrine of collateral estoppel of the Court's February 24, 1975
   Order in Case 73-cv-04279, Docket #99, Appendix 1, Volume 3, page 728,
   and by Appeal 17-2273, this plenary action enforces the Memorandum
   Order of Judge Lasker of November 8, 1974 entered by the Court's February
   24, 1975 Order.
117. The title of Case 73-cv-04279 has changed pursuant to FRAP 43(c)(2) by
   order of the Second Circuit Court of Appeals to reflect the changed parties,
   which was done at Docket #96-104 in 17-2273, replacing public officials
   where a new person has succeeded them in office.
                IX.    PRIOR RECORD, CLASS STANDING
             X.    PERCY, THE APPRENTICE that never was
118. Percy speaks here in the first person describing the unfairness and
   depravity as personal, suffering serious, permanent and irreparable
   economic and social injury and damage as a result of the actions and/or
   inactions of the Defendants in not developing less onerous and less offensive
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   alternatives for hiring persons than the disparagement of selection by color
   of their skin or ethnicity, when all this does is cause an employer to disregard
   qualifications and competency and instead select employees on an illegal
   basis of goals for society’s outcasts. This illegal disparate treatment is
   personal and permanent. Percy’s circumstances are common and prevalent
   to the all the members of the Class.
119. Percy retained the Kernan Professional Group, LLP to represent the Percy
   Class. James Kernan, substituting for Dennis R. Yeager Esq., now deceased,
   who was Plaintiff’s appearing counsel in the original Percy Action.
120. The members of the Percy Class have been and are ready, willing and able
   to work, persistently wanting to work, but have been constantly deprived
   and denied work, awakening the crisis on behalf of the Percy Class
   attempting to obtain work, and damaging the families of the members of the
   Percy Class, their children growing up in poverty, significantly
   disadvantaged in education and skills, struggling to get a job, in an amount
   to be determined at trial.
121. In Percy's words when retaining Kernan to pursue what was awarded to
   him and the Percy Class:
122. Percy asked why he never became The Apprentice? "I waited, faithfully,
   expecting that the relief awarded by the United States District Court would
   happen any day and I would be apprenticed, but days turned into weeks
   turned into months and then years, while I waited.”
          “What I seek is what was awarded to me. I'm not blaming anyone mind
   you, I have gone on for years knowing something is wrong, it’s as if there is
   a strange disease that appears to affect black men. You begin to wonder
   about yourself, but I stupidly lived on in an urban community where forces
   of disengagement are more formidable than the resources for battling. Now,
   I finally have my courage up and seek to regain the relief against Secretary
   Brennan and the government awarded to me and the class I represent by
   Judge Lasker.”
         “The lack of action by the Defendant Government Agencies has gone
   on for years, something is wrong. You begin to wonder about yourself.”
         “What do you do when they have the control? I must shake off the
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disappointment and come up for air from the sewer of life so many of us
have lived in, where for me it was actual.” There is a stench in the air, much
like when he worked for the wastewater plant. “I know that from that stench
comes a cleansed and renewed flow, fundamental to health, survival, growth
& development and opportunity. I have made a decision to push on. My
greatest social crime is I've stayed quiet and laid low, waiting for word."
      “I started out with my share of optimism, believing in hard work with
a world of infinite possibilities. I remember my start was in the oil fields of
Trinidad as a casual laborer. The job training was working alongside an
experienced craft person who was able and willing to transfer their know-
how to inexperienced, although enthusiastic, people like me. I was
beginning to pick up work as a teenager with Halliburton Industries and its
local presence with Tucker. I was an assistant to a drill rig operator as a
casual laborer roughneck. I also worked as an auto mechanic, using the tools
of the trade, often times under challenging conditions without modern
vehicle lifts or pneumatic tools, repairing engines, clutches and breaks
alongside an experienced mechanic. When it came time to repair broken
metal I was taught to weld learning how to draw a bead, fuse welding rods
to adjacent metal pieces with the heat of electric arc, and joining dissimilar
metals by brazing.”
      “When I arrived in New York City in April 1966, I registered for the
draft at 42nd Street in New York City. I was inducted into the United States
Army at Whitehall Street in New York City in July 1966 and shipped to US
Army boot camp at Fort Jackson SC. I reported to Fort Bragg, NC for
Advanced Infantry Training. I served in the U.S. Army from 1966 to 1968,
during the Vietnam era, rising from Spec E4 to the rank of Sergeant E5,
providing leadership training to 2nd Lieutenants from West Point OCS and
ROTC at Fort Knox, KY to prepare them for the war zone.”
      “After my honorable discharge from the United States Army on July
21, 1972, I took a job with J.P. Morgan Chase Bank as a transaction clerk.
But I was young and was looking for more physical work so I took a New
York City wide exam and was hired on with the New York City Sanitation
Department as a mechanic at the Center of Repair Services in Maspeth, New
York. I took a further examination and was promoted to Senior Auto
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   Worker. I then took the oiler examination and was hired at the 26th Ward
   Wastewater Treatment Plant and began working as an oiler which was the
   beginning of my career in the sanitation and water pollution plants. At the
   26th Ward, I was promoted to the position of Stationary Electrical Engineer
   and worked under supervisor Walter Boritz and later under Superintendent
   Garibaldi. I then became the chief Oiler at the North River Water Pollution
   Control Plant, making sure the plant was maintained and removed
   pollutants from used water before being discharged into local New York City
   waterways.”
123. Percy’s service extended for 25 years working in sewer plant facilities with
   pumps and electrical gear as an Oiler, as a Stationary Electrical Engineer at
   the 26th Ward Pollution Plant, and as an Oiler at Coney Island Pollution
   Plant, Owls Head Pollution Control Plant, and North River Water Pollution
   Control Plant.
          “North River sticks with me the most where I saved the life of my
   coworker, Brian Malunat, from drowning in a 15 foot deep sewage influent
   vat. I remember Malunat shouting ““I am sinking””. With over 9 feet to the
   bottom, the filth and human waste was filling his boots pulling him under
   and toward the 6 foot grinder blades where all of the influent and Malunat
   would be ground into small pieces. He was hanging onto the firehose that he
   fell in with. He said: ““Percy, please help me, don't let me die this way””,
   indeed a grizzly death it would have been if he had not been rescued. I put
   in a ladder and went into the vat, Malunat grabbed me around the neck and
   I climbed out of the vat with Malunat on my back, laid him on the deck
   surrounding the vat, hosed him off and took him to the hospital. I took care
   of my coworkers, workplace safety is so important.” The incident was
   reported in the Daily News and Percy received a commendation from the
   Commissioner of the New York City Department of Environmental
   Protection for the rescue at the North River Water Pollution Control Plant,
   for saving the life of his coworker:



         February 6, 1989
         Al Percy
         North River Water Pollution Control Plant
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         Department of Environmental Protection
         135th Street and 12th Ave.
         New York, New York
         Dear Mr. Percy:
                I want to extend a belated thank you and congratulate you for
         your fine display of courage and intelligence as you saved the
         life of your co-worker Brian Malunat.
                You demonstrated tremendous presence of mind in handling the
         situation as you did. I am very pleased to know that the
         Department of Environmental Protection has in its employ a
         committed and exemplary worker such as yourself. Not only does
         DEP benefit from this sort of outstanding behavior as a whole,
         but your fellow workers are clearly very fortunate to have you
         amongst them.
                Thank you for your ongoing commitment to the work at DEP
         and for your willingness to go the extra mile for a fellow employee.
                                        Sincerely,
                                        HARVEY W. SCHULTZ
                                        Commissioner
         cc: Asst. Commissioner Edward Wagner
         Louis Tazzi

124. Grateful that he found work and it was meaningful work at the water
   pollution treatment plants he worked at the barrier and interface between
   modern industrial, manufacturing, commercial and residential society and
   its waste and excrement, and our planet, its natural resources and its
   waterways. “My difficult and dirty chores in excrement stenched confines,
   shoveling and mopping terrible wastes was so that only clean water, a
   continuous and life sustaining resource, returned to nature, right back into
   the environment and into the homes of the living. I worked through the
   dusty air at the facilities, at times feeling as though I was mentally drowning
   in the waste flooded bowels of the city of New York, produced by upstream
   living. I’ve anguished on why I hadn't simply left and since I remained and
   waited, why I had not done something to assert myself?”
125. Percy was not promoted, remaining like underground vermin, making a
   daily descent into the working bowels of the city, the river of slime.


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126. Everyone is connected to the steady flow into the sewers and equally
   connected to the outflow of cleansed water running out. And while society
   stands (or sits) unaware, on both ends of the input and output, there is an
   unseen constant interface which keeps the flow between modern society and
   our planet moving, people like Percy. Percy is of the machinery that allows
   urban modern living to coexist with the natural elements of our world, earth
   and nature. The ever-evolving purification of water increased the life
   expectancy and elimination of many diseases at its beginning and helped
   create and grow cities and industries.
127. Throw in the plum bob to the sewer tanks and it will scarcely reach bottom.
   There will always be a dark swirling pool of the wastes of society to which
   everyone, whether they realize it or not, is connected - by the device called a
   toilet.
128. Percy is what society relies upon! And yet “I kept my eyes lowered,
   mumbling, pardon me, pardon me," all the while in the many years that he
   waited for the promised apprenticeship.” Waited, insignificant and yet part
   of something so significant.
129. Percy never got what he was promised. In 1974 in his landmark Percy
   Action he won the right for unskilled workers to receive apprenticeship
   training so they could benefit from good jobs while enjoying the pride that
   comes from building and maintaining critical infrastructure. Skills are the
   key to freedom and liberty. Despite a favorable ruling, the apprenticeship
   never happened. “I speak for the Class, we were denied.”
130. The trade that Percy sought to apprentice in was a heavy equipment,
   operating engineer. When he sought apprenticeship training as a heavy
   equipment operator he was directed to a Mr. Daniel Murphy who was
   associated with the New York City Building Trades Association. Murphy
   advised him to look into becoming an apprentice, but with no success.
131. Since the decision of Judge Lasker in the Percy Action, there has been
   virtually no meaningful training, no equal employment opportunity
   envisioned by President Lyndon Johnson upon the signing of the Civil
   Rights Act of 1964 and the adoption of Presidential EO 11246.


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132. In the Percy Action, Percy sought to be admitted into the apprenticeship
   program for himself together with the thousands of persons identified by
   Judge Lasker in 1974 as the Class.
133. The training that the Class was and is seeking is apprenticeship involving
   paid on-the-job training coupled with related classroom instruction.
134. “I am still trapped in my own black skin”, Percy said and asked why in all
   these years, apprenticeship envisioned by Abraham Lincoln did not come to
   pass. Percy was forgotten, Percy said: "all I was looking for is to gain the
   skills to be able to compete for jobs, not be given jobs for which I was not
   qualified.” Percy and his class are the apprentices that never happened,
   apprenticeship that Lincoln envision on April 11, 1865. What happened?
135. Percy asked why did he never become The Apprentice? "I waited, faithfully,
   expecting that the relief awarded by the United States District Court would
   happen, any day I would be apprenticed, but days turned into weeks turned
   into months and then years, while I waited.” Now, at the close of Percy's
   days, he seeks the relief for the class, yes, a new generation, but with the
   same entitlement to apprenticeship, the award is now enforced here. “Even
   though my skin is black, I would rather be free to compete for jobs based on
   my skills rather than the special treatment because of color of my skin or
   ethnicity.”
136. The low-income circumstances in the geographic area surrounding the
   facilities and projects as enumerated as the tag-along cases, places the Percy
   Class members at such a low level because they have been constricted to the
   low income neighborhood in which their families live. The economic
   circumstances compel children to leave school at an early age in order to
   help sustain themselves and the family, where fathers who are unable to
   provide for their families have left in order to maximize public assistance to
   family members, forcing uneducated children into illegal jobs such as selling
   drugs just to survive, who only coincidently happen to be black. These low
   income economic circumstances tie them to the Percy Class members and
   other families in the neighborhood, denying them the opportunities they
   seek for which this action has been brought. These dire economic
   circumstances can persist for generations, damaging the very fabric of the
   Class, their families and their neighborhoods.
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137. Equal opportunity at its core carries the simple mandate that opportunities
   should be open to all on the basis of competence alone. The complaint is that
   the Percy Class has not been afforded the minimum training and
   preparation needed to be eligible for the jobs that become available, and
   those who do secure work as a result of hiring goals are often unable to keep
   their jobs due to lack of skills.
138. The facts set forth herein are typical of the members of the Class Percy
   embodies, the hardscrabble Class members who are deprived of the
   opportunity to become fully employed as a skilled craftsperson simply
   desiring the dignity of work.
139. The Percy Class are the people outside of the headlines, the invisible people
   that only get noticed when the lights go out, when the water ceases to flow,
   when the trains stop, when the sewers back up or when the roads and
   bridges crumble. They are the workforce that ensure society does not come
   to a halt. And as much as society relies on them, their challenges in securing
   the skills necessary have gone ignored.
140. This skills deficit is most notable in communities in which chronic
   unemployment is most prevalent. These are also the communities most
   likely to embrace and benefit from the types of jobs that keep society
   functioning. The skills they lack are the impediment to moving them from
   chronic unemployment to gainful employment, and also crossing the skills
   deficit divide.
141. Since the discontinuance of Percy v. Brennan Case 73-cv-04279, there has
   been virtually no meaningful correction of skill deficits envisioned by
   President Lyndon Johnson upon the adoption of Presidential EO 11246,
   which continues to date as boilerplate in all public contracts.
142. Despite Federal Funding poured into Owners for decades, large clusters of
   the members of the Percy Class are unemployed, unskilled, poor and
   disenfranchised in communities surrounded by the very public works
   projects for whom the Federal Funding was intended to assist. The same
   disproportionate distribution exists for other measures of economic, social
   and educational disadvantage. All told, the same small number of
   Community Districts continue to experience multiple, overlapping

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   conditions of distress. These entrenched neighborhood pockets continue to
   prove resistant to superficial reform efforts, which fail to combine ongoing
   training, support services, and a credible pathway to employment. In the
   methodology described below, Community Districts are ranked according to
   their combined score of disadvantage based upon each Community
   District’s measures of: a. Unemployment, b. Poverty, c. Public Assistance, d.
   Low Income, e. No High School Degree, f. Prison Admissions.
143. [Eric] Statistical evidence demonstrates that social and economic
   disadvantage has continued to grow worse in disadvantaged communities
   across the country since the enactment of Civil Rights Act of 1964 amended
   in 1991, and EO 11246 in 1965, which have tried levelling the playing field
   economically for the neighborhoods. These legal initiatives as implemented
   in practice have failed to produce a reduction in disadvantage as measured
   by unemployment rates in these neighborhoods. In 1954, 9.9 percent of
   African-Americans were unemployed. By 2013 that had increased to 13.4
   percent (Bureau of Labor Statistics from Pew Research Center). The failure
   is further evident in our research which shows high levels of unemployment,
   incarceration , poverty and low levels of education in densely populated
   minority areas.
144. While the Black unemployment rate in 2013 was 13.4%, the white
   unemployment rate was half that, 6.7%, a 2-to-1 gap, which has persisted
   more or less over the last 60 years (Bureau of Labor Statistics from Pew
   Research Center). According to the Pew Research Center, “. . . labor
   economists, sociologists and other researchers have offered many
   explanations for the persistent 2-to-1 gap . . . from differing industrial
   distribution of blacks and whites to a ‘skills gap’ between them . . .” The
   disproportionate disadvantage in educational attainment and employment
   are certainly consistent with the presumption of a skills gap. Additional
   conditions of disadvantage such as poverty, dependence on public
   assistance, and criminal justice system involvement in these neighborhoods
   suggest that without persistent, concerted, and targeted intervention in the
   education, skills development, training and employment of these residents,
   these debilitating conditions are unlikely to be relieved nor fulfill the vision
   of the Civil Rights Act.

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145. Further exacerbating the inequity, automation and new technology are
   combining to raise the level of unemployment resulting in less and less
   opportunity for the lower or nonskilled class.
146. Percy became the Chief Oiler at the North River Water Pollution Control
   Plant, making sure the plant was maintained and removed pollutants from
   used water before being discharged into local New York City waterways. As
   an oiler Percy’s main job was to oil machinery and check engine equipment
   for leaks or malfunctions, lubricate moving parts, and check gauges, notably
   for sewage, lighting, air conditioning, and water systems.
147. This was an important job that required an advanced skill set, a skill set to
   allow Percy to handle the tasks at the plant and ensure the average New
   Yorker could enjoy potable water. Without the proper skills, Percy would not
   achieve his career success. This skill set was not developed in the United
   States, however, but in the oilfields of Trinidad and Tobago. The unfortunate
   truth is that the United States does not make the effort to train its own
   citizens to handle its critical infrastructure needs. Yet Percy is an example of
   the level of success and responsibility that is achievable when one does have
   the skill set.
148. Today Percy, the Class Representative in a lawsuit commenced years ago,
   wants to make sure apprenticeship exists to develop skilled workers to care
   for the infrastructure and systems that the people of the United States of
   America rely on. There will always be a need for skilled workers capable of
   keeping society’s infrastructure functioning. This cannot happen without
   the skilled, salt of the earth, labor of hardworking Americans. Percy is
   leading the charge so that hard working Americans have access to the skills
   necessary and the good paying jobs needed to keep the machinery running
   which manages and protects our Earth. Percy is proof of what is possible.
   But nothing is possible without the proper training and safety.
149. In the landmark class action lawsuit, Percy v. Brennan, Percy won the right
   for unskilled workers to receive apprenticeship so they may benefit from
   good jobs while enjoying the pride that comes from building and
   maintaining critical infrastructure. Despite a favorable ruling, the
   apprenticeship never materialized and today the United States of America
   faces a shortage of skilled labor and unacceptable income disparity, low
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   wages, few fringe benefits, minimal levels of training, and the lack of a career
   ladder, all contributing to a chronic workforce shortage. If the
   apprenticeship promised 47 years ago had occurred, people who need jobs
   today would have rewarding and good paying jobs. Percy was hoping to train
   the next generation of workers. The Associated Builders and Contractors has
   stated that the industry is in need of half a million workers today and even
   more in the future. They further note the need to expand upon current
   apprenticeship methods that have left us with a worker shortage.
150. Percy and the Percy Class are intended beneficiaries of the contracts and
   Federal Funding described herein, as provided for by the Civil Rights Act of
   1964, 49 CFR 21, 49 CFR 23, and 49 CFR 26, as well as EO 11246. The
   wrongful and improper violation of the law by the Defendant Government
   Agencies, Owners and Employers create barriers which cannot be allowed
   to continue when the real and ultimate result is permanent irreparable
   serious damage to a class protected as intended beneficiaries under
   contracts.
151. Percy as a member of the Class is a proper representative of the Class. His
   personal and business interests and the claims hereinafter set forth are fully
   aligned with those of the Class.
152. In the Memorandum Decision on November 8, 1974 in Percy v. Brennan,
   Judge Lasker addressed the plight of the Percy Class. The Percy Class was
   defined by Judge Lasker as “all black and Spanish-surnamed persons who
   are capable of performing, or capable of learning to perform, construction
   work, and who wish to perform construction . . . .”, and that is Plaintiff Percy
   Class and Percy is the Class representative. The standing was certified in
   Percy v. Brennan.
           XI.    ALTERNATIVE EMPLOYMENT PRACTICE
The Advocates
153. Carl Evans with Irving Hurdle, Webster Gillory, Walter Fauntroy, Roger
   Edmunds, Anthony Robinson, and Lynette Barnhardt, along with James M.
   Kernan as Percy’s counsel (referred to hereinafter as the “Advocates”),
   comprise a team which sought unsuccessfully to have the Defendant
   Government Agencies and Owners require the Percy Class be employed
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   under an Alternative Employment Practice at the facilities listed as Tag-
   Along cases at paragraph 235 - 238 of this Complaint. The members of the
   Percy Class are ready, willing and able to work, all to no avail because the
   Defendant Government Agencies, Owners and Employers have denied the
   Percy Class, frustrating the Alternative Employment Practice, failing to
   enforce EO 11246 and the mandates of the 1964 Civil Rights Act 42 U.S.C.
   §2000(e) and §2000(d) (1964) (the “Civil Rights Act”). The Civil Rights Act
   and EO 11246 are material conditions of contracts, as important an element
   of the contracts as providing steel for a bridge. The purpose of this litigation
   is not related to goals for minority employment inclusion. Instead there is a
   fundamental responsibility on the part of the Government Agencies, Owners
   and their agents to enforce the provisions of the Civil Rights Act and EO
   11246 for the benefit of the Percy Class as third-party beneficiaries,
   incorporated into agreements as conditions to in contracts.
154. The Advocates when explaining the Alternative Employment Practice as
   hereinafter detailed, presented statistics that lower socioeconomic
   communities such as the Percy Class face disproportionate negative
   exposure to market conditions that result from a long-term and discernible
   lack of fair and equal access to the skills and markets that result in
   employment. Coincidentally, disproportionate number of blacks among the
   disenfranchised remains a huge racial justice problem that has existed for
   the multiple generations separating African Americans in the United States.
   The Class from disadvantaged neighborhoods have been continually kept of
   of the major trades, which is not just a relic of past discriminatory practices,
   but the continuation of present-day conspiracy of separation and consistent
   poverty that leads to major health concerns and quality of life issues.
The Percy Program Presented by the Advocates as an Alternative
Employment Practice under 42 USC 2000 e-2(k)(1)(A)(ii) and
(k)(1)(C) meets the burden of production and persuasion under Title
VII of the Civil Rights Act.
155. All employment is required to be covered by workers' compensation. Along
   with the payment of benefits to cover injury and death while on-the-job
   ("OJT") as required in under New York Workers' Compensation Law §10,
   workers' compensation can include risk-management, safety training and
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   loss control. Using workers' compensation coverage as the delivery method
   for the Alternative Employment Practice to provide apprenticeship for new
   hires and continuing education for existing employees, is the most
   efficacious practice of providing skills to educate workers to competently
   and safely perform work, protect themselves and people with whom they
   come into contact, by changing employment practices, by adopting the
   Alternative Employment Practice to be a part of workers' compensation
   coverage, coverage existing over all employment. The Advocates of the Percy
   Program have presented to Defendant Government Agencies, and to
   Owners, and Employers and their agents, the Percy Program as the
   Alternative Employment Practice. The Percy Program is part of workers’
   compensation coverage as a mandated coverage required by the Employers,
   so there is no extra cost to the Employer.
156. The Percy Program is ideally suited to train and create jobs for the Class of
   disadvantaged persons. The Apprentice Program of the Percy Program is an
   outgrowth of a commitment to minimize loss and risk in the workplace by
   educating and training apprentices and journeypersons on safe and
   healthful practices. Workers’ safety is impacted in a positive manner
   resulting in greater control of risk reducing loss for employers and their
   insurance carriers.
157. An acceptable apprenticeship program is vigorous and comprehensive and
   takes many years for an apprentice to fulfill the requirements as established
   by the US Bureau of Apprenticeship Training and the New York State
   Department of Labor by means of approved work processes as Appendix A
   On-the-job training and Appendix B related classroom instruction.
158. The Percy Program first presented to the U.S. Department of Labor
   Employment Standards Administration in 1984, as an apprenticeship
   program for Wage and Hour Davis-Bacon purposes as qualifying under the
   US Department of Labor Bureau of Apprenticeship Training 29 C.F.R. Subt.
   A, Pt. 29 and Pt. 30, and yet the Owners have been ambivalent regarding
   encouraging an Alternative Employment Practice which actually provides
   jobs and careers to the Percy Class, all the while the Percy Class is ready,
   willing and able to work, and worse yet, damaging the families of the
   members of the Percy Class, their children growing up in poverty,
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   significantly disadvantaged in education and skills, struggling to get a job,
   in an amount to be determined at trial..
159. The Advocates explained the transformational changes taking place in
   every industry, tradespersons are requested to keep abreast of technological
   developments, regardless of age or position in an organization – this has
   never been more important and represents a powerful key to unlock equal
   employment. This is an opportunity to give disadvantaged persons the skills
   to compete and make them desirable to hire based upon their capabilities
   rather than the color of their skin or ethnicity. This is not accomplished by
   the swipe of a pen or a provision in a contract. Instead it will take time to
   infuse the skill and training to give naturally intelligent and industrious
   persons wanting to improve their lives and allow them to move out of
   poverty into middle class opportunity, this is just good business. Yet, the
   Government Defendants and Owner agencies, have spent over 40 years
   attempting to enforce goals which have miserably failed to create skills to
   compete for jobs, and well they should fail because the goals flow from a
   forced interpretation of the vision of the Civil Rights Act and the 14th
   Amendment to the US Constitution - equal protection. The goals are just
   plain contrary to law and it is obvious that the illegal activity has caused very
   little good.
160. The Advocates explained that there is a significant difference between OJT
   and education or apprenticeship. In order to succeed in today’s world of
   nearly instantaneous and constant technological change, it is important to
   have both, and to ensure that the Class receives the best training and
   education. It’s the only way to stay on top today, while preparing for, and
   building, for tomorrow.
161. The Advocates explained that OJT is distinguished from education. OJT
   teaches and education provides tools to continually adapt to changes. An
   ancient truism says that if you give a man a fish, you feed him for a day, and
   if you teach a man to fish, you feed him for life. We go a step further: don’t
   just teach how to catch a fish, educate about the art and science of fishing.
   Go beyond the mechanics of catching a fish and enlighten by explaining the
   biological forces underlying the key elements of fishing. Give the big picture.
   Teach the reasons behind the design of the equipment. Teach about water
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   currents, patterns in fish mating and feeding cycles, including economic and
   environmental trends that impact the life-cycles of fish.
162. The Advocates explained that this clichéd old saw about the fishermen
   illustrates the divide between apprenticeship on-the-job (OJT) and
   education. OJT is skill-oriented: it is learning how to fish. Education is
   concept-based — it is learning to see the big picture of why and how things
   work together. Both are necessary but without OJT the Percy Class never
   gains the experience to get a job and cannot get a job due to lack of
   experience.
163. The Advocates explained that training someone to do something is task-
   oriented, it is skill-based. You can train someone to increase their
   proficiency. A trained person is faster, better able to perform tasks
   competently and safely. OJT has a skill-based focus training people for
   performance, educating people for understanding. OJT takes full advantage
   of the new tools and systems coming onto the market by manufacturers.
164. The Advocates explained that OJT is the not only a less onerous alternative,
   it is the most beneficial and constitutionally acceptable alternative, and is
   just good business.
165. The Alternative Employment Practice is the "Percy Program" described
   here at XI. ALTERNATIVE EMPLOYMENT PRACTICE" paragraphs
   153 – 218, (XVI. THE PERCY PROGRAM, paragraphs 241 – 274, XVII.
   COMPONENTS OF PERCY PROGRAM paragraphs 275 – 276, XVIII.
   REGULATORY APPROVALS OF PERCY PROGRAM paragraph 277
   – 280 of this Complaint, the subject of this Complaint.
166. The Percy Program as an Alternative Employment Practice was registered
   with the New York State Department of Labor effective January 1, 1991, and
   approved by the New York State Department of Insurance on December 6,
   1994, registration and approvals which remain intact.
167. The Percy Program was offered as an Alternative Employment Practice by
   the Advocates, as hereinafter set forth, on behalf of the Percy Class as the
   complaining party under 42 U.S.C. §2000e–2(k)(1)(A)(ii), and is the
   required demonstration set forth at subparagraph (k)(1)(C).


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168. The Percy Program as an Alternative Employment Practice answers the
   need for affirmative action to assist the Percy Class in obtaining competitive
   skills by utilizing registered apprenticeship meeting the requirements of the
   Fitzgerald Act (29 U.S.C. § 50 commonly known as the National
   Apprenticeship Act of 1937, section 1 (29 U.S.C. 50) under U.S. Department
   of Labor's Office of Apprenticeship and Training (BAT) and 29 C.F.R, Subt.
   A, Pt. 29 and Pt. 30. Apprenticeship is the process of learning a skilled
   occupation through both on-the-job training (practical, paid experience)
   and learning the related technical knowledge in a classroom. Candidates
   must be 18 years old, and possess a GED (the Percy Program will help a
   candidate obtain a GED). Enrollment must be done openly under the
   procedures established by federal and state regulations for Minimum
   Qualifications Review and Eligibility List Ranking using: educational
   achievement, work experience, seniority, job aptitude, oral interview, and
   general demographic inquiries to determine a score for ranking for
   eligibility to be enrolled in OJT and continuing education.
169. The Percy Program as an Alternative Employment Practice develops the
   skills of the class of persons recruited from within communities mired in
   poverty, the Percy Class, ready, willing and able to compete for paid OJT
   with related classroom instruction and continuing education provided as
   part of risk management, loss control and safety training by the Alternative
   Employment Practice.
170. Providing apprenticeship as proposed by the Percy Program and enrolling
   the new workforce to work alongside existing journeypersons will grow the
   depth of skilled workers ready, willing and able to work, whose ranks are
   being diminished through age and attrition. Disadvantaged persons are
   given an opportunity, and employers build a reliable workforce, to complete
   contracts competently and profitably.
171. The 1991 amendment to the Civil Rights Act of 1964 (42 U.S.C. §§2000e et
   al, commonly referred to as PL Title VII of the Civil Rights Act of 1964 as
   amended in 1991) set forth a methodology whereby the Percy Class has
   demonstrated to the Government, Owner and Employer Defendants in this
   Action, an Alternative Employment Practice to address the disparate impact
   of the lack of skills, low wages, few fringe benefits, minimal levels of training,
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   and the lack of a career ladder contributing to a chronic workforce shortage
   caused by inadequate training of persons in the Percy Class so as to have
   equal employment opportunity by possessing the necessary skills to
   compete for jobs.
The Percy Program is a Less Discriminatory Alternative Method of
Employment Practice Available to these Employers and Presented it
the Defendant US Department of Labor and the Executive Branch
Office of the President of the United States
172. The Advocates, on behalf of the Percy Class, complained and demonstrated
   the Alternative Employment Practice to the Executive Branch Office of the
   President on March 31, 2011, to Rohm Emanuel when he was Chief of Staff
   for President Barack Obama, and to Eric Holder when he was the United
   States Attorney General, and to Hilda L. Solis when she was the United
   States Secretary of Labor, and to other Secretaries of federal government
   agencies, such as the United States Department of Transportation and the
   local and state government agencies to whom federal funds were provided
   for public work facilities. The Advocates submitted the Alternative
   Employment Practice in submissions for Homeless Veterans' Reintegration
   Program (HVRP) National Technical Assistance Center Cooperative
   Agreement(s) and meeting the burdens of production and persuasion for the
   Alternative Employment Practice. Then on June 29, 2010 the Advocates
   submitted again the Alternative Employment Practice, when the Advocates
   on behalf of the Percy Class applied to assist the USDOL Homeless Veteran
   Reintegration and Veterans Workforce Investment Programs DOL
   Homeless Veteran and the DOL Homeless Veteran Reintegration and
   Veterans Workforce Investment Programs for Incarcerated Veterans
   Transition Program.
173. The Percy Program as an Alternative Employment Practice was first
   presented to the U.S. Department of Labor Employment Standards
   Administration for review in 1984 and was accepted on June 14, 1984 as an
   apprenticeship program under the National Apprenticeship Act of 1937 for
   as qualifying under the US Department of Labor Bureau of Apprenticeship
   Training, meeting the requirement of (k)(1)(C) that the demonstrated
   Alternative Employment Practice of subparagraph (A)(ii) is “in accordance
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   with the law as it existed on June 4, 1989, with respect to the concept of
   ““alternative employment practice””, 42 USC 2000e-2(k)(1)(A)(ii) and
   (k)(1)(C).
174. Even with disadvantaged business enterprises, systematic racial
   discrimination existing in the surety bonding of business enterprises who
   are qualified to perform public works projects, encounter this disparate
   impact due to pervasive and persistent institutional discrimination placing
   the Percy Class ready, willing and able to work, at a disadvantage in
   financing procurement, capital acquisition, obtaining experience and
   competency to safely perform work, all of which are programs intended to
   be aided by the Federal Funding. This can be addressed and also be used to
   develop enterprises which will provide jobs to the Percy Class using bonding
   of disadvantaged business enterprises under the Percy Program presented
   to Defendant Government Agencies.
The Percy Program Presented to the NYS Empire State Development
Corporation is an Available Less Discriminatory Alternative Method
of Employment Practice
175. The Advocates presented the Alternative Employment Practice to Empire
   State Development Corporation (ESDC) director and the Deputy
   Commissioner for Community Economic Development, for presentation to
   Gov. Andrew Cuomo as evidence to produce and persuade the ESDC to
   mandate the Alternative Employment Practice but the ESDC has remained
   apathetic to the Alternative Employment Practice and the Class ready,
   willing and able to work, and have not taken effective steps to correct the
   disparate treatment to the Class.
The Percy Program Presented to the Port Authority of New
York/New Jersey is an Available Less Discriminatory Alternative
Method of Employment Practice
176. The Advocates presented the Alternative Employment Practice to Lash
   Green, Diversity Officer of the Port Authority of New York and New Jersey,
   and to past Executive Director Chris Ward as evidence to produce and
   persuade them to mandate the Alternative Employment Practice but they
   have remained apathetic to the Alternative Employment Practice and the

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   Class ready, willing and able to work, and have not taken effective steps to
   correct the disparate treatment to the Class.
The Percy Program Presented to the Metropolitan Transportation
Authority is an Available Less Discriminatory Alternative Method of
Employment Practice
177. The Advocates presented the Alternative Employment Practice to Michael
   J. Garner, Chief Diversity Officer of the Metropolitan Transportation
   Authority (MTA), as evidence to produce and persuade them to mandate the
   Alternative Employment Practice but they have remained apathetic to the
   Alternative Employment Practice and the Class ready, willing and able to
   work, and have not taken effective steps to correct the disparate treatment
   to the Class.
The Percy Program Presented to the New York Dormitory Authority
is an Available Less Discriminatory Alternative Method of
Employment Practice
178. The Advocates presented the Alternative Employment Practice to New
   York Dormitory Authority (DASNY) Diversity Officer Paul Williams, as
   evidence to produce and persuade them to mandate the Alternative
   Employment Practice but they have remained apathetic to the Alternative
   Employment Practice and the Class ready, willing and able to work, and
   have not taken effective steps to correct the disparate treatment to the Class.
The Percy Program Presented to the School Construction Authority
is an Available Less Discriminatory Alternative Method of
Employment Practice
179. The Advocates presented the Alternative Employment Practice to School
   Construction Authority through Thacher & Associates proposing that the
   School Construction Authority (SCA) and MTA as evidence to produce and
   persuade them to mandate the Alternative Employment Practice but they
   have remained apathetic to the Alternative Employment Practice and the
   Class ready, willing and able to work, and have not taken effective steps to
   correct the disparate treatment to the Class.



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The Percy Program Presented to the State University of New York is
an Available Less Discriminatory Alternative Method of
Employment Practice
180. The Advocates presented the Alternative Employment Practice to
   Chairman Carl McCall of the State University of New York for presentation
   to state Government Agencies for the State University of New York to
   partner with us to provide the Alternative Employment Practice, as evidence
   to produce and persuade them to mandate the Alternative Employment
   Practice but they have remained apathetic to the Alternative Employment
   Practice and the Class ready, willing and able to work, and have not taken
   effective steps to correct the disparate treatment to the Class.
The Percy Program Presented to the City Of New York and its
Agencies is an Available Less Discriminatory Alternative Method of
Employment Practice
181. The Advocates presented the Percy Program as an Alternative Employment
   Practice to New York City Government for presentation to City government
   agencies for the City of New York to provide the Alternative Employment
   Practice, as evidence to produce and persuade them to mandate the
   Alternative Employment Practice but they have remained apathetic to the
   Alternative Employment Practice and the Class ready, willing and able to
   work, and have not taken effective steps to correct the disparate treatment
   to the Class.
Percy Class as Third-Party Beneficiaries of Contracts
182. Owners, as the recipients of Federal Funding from the United States of
   America, have accepted Federal Funding pursuant to terms and conditions
   that Owners must certify that it will legally, financially, and otherwise
   require the Employers to employ these funds to accomplish affirmative
   action in equal employment opportunity for the economic benefit of the
   Percy Class.
183. The Defendants and Owners have simply passed the affirmative action
   obligations through to Employer/contractors with goals for percentage of
   minority business enterprise participation, goals which in fact violate
   United States EO 11246, the Civil Rights Act of 1964 and the US
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   Constitution, as well violating several other federal regulations, regulations
   specifically identified in contracts involving Federal Funding, outlawing
   preferring persons based upon race, color or creed, causing and continuing
   to cause disparate impact discrimination, wrongs that these statutes, orders,
   and regulations were designed to remedy.
184. The Defendant Employers must adopt the Alternative Employment
   Practice under the Fitzgerald Act (29 U.S.C. § 50 commonly known as the
   National Apprenticeship Act of 1937, section 1 (29 U.S.C. 50) under U.S.
   Department of Labor's Bureau of Apprenticeship and Training (BAT) and
   29 C.F.R. Subt. A, Pt. 29 and Pt. 30 as an available alternative employment
   practice that has less disparate impact and serves the employer's legitimate
   needs, 42 USC §§ 2000e–2(k)(1)(A)(ii) and (C).
185. The 1991 amendments to 42 USC § 2000e-2 (Title VII of the Civil Rights
   Act of 1964) is the same remedy the Percy Class sought in Case 73-cv-04279,
   was training and is seeking apprenticeship involving on-the-job-training
   (“OJT”) coupled with related classroom instruction under the National
   Apprenticeship of 1937 (“the Fitzgerald Act”). . The members of the Percy
   Class are ready, willing and able to work.
186. The State has interfered and continues to obstruct the mandates of EO
   11246 as well as failing to abide by the Civil Rights Act of 1964, and
   specifically the 1991 amendment 42 USC § 2000e-2 and 42 USC § 2000d,
   and in breach of the conditions to contracts regarding funds from the United
   States of America, and of rights secured by the United States Constitution
   Amendments V, XIV, and 42 USC §§ 1981, 1983 and 1985.
187. The Alternative Employment Practice under the Fitzgerald Act of 1937
   satisfies the requirement that the Alternative Employment Practice be in
   accordance with law as it existed on June 4, 1989 as set forth at 42 U.S.C. §
   2000e–2(k)(1)(C).
188. The chain of funding, begins with Federal congressional appropriation,
   then to the Executive Office of Budget & Management allocation, then to the
   Executive Cabinet Agencies, then to government agencies who distribute the
   funds, and finally to the local, state and federal agencies and authorities as
   Owners. Owners enter into agreements to receive Federal Funding, and then

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   contract with Employers who are paid from the Federal Funding. The
   Defendant Government Agencies, Owners and Employers as stewards of the
   Federal Funding, are required to live up to the intent of the Civil Rights Act
   relating to the adoption of this Alternative Employment Practice.
189. Community Benefits Agreements (CBAs) and Project Labor Agreements
   (PLAs), which were expected to generate jobs to low-income neighborhoods,
   and spark economic development were touted as a groundbreaking to
   ensure the community as well as the developer would benefit from federally
   funded projects. CBAs and PLAs promised, among other things, that jobs
   would be set aside for minorities and women and that at least 20% of the
   money spent on construction would go to minority firms and to level the
   playing field for companies owned by veterans, women, and other
   minorities, have failed to alleviate the disparate impact visited upon the
   Percy Class. The CBAs and PLAs have been a dismal disappointment.
190. The Alternative Employment Practice asserted here is covered under and
   is a part of workers’ compensation coverage empowering disadvantaged
   persons to gain skills to enter the workforce at a level of skill and training
   which will permit them to rapidly move towards journeyperson status.
191. The Alternative Employment Practice does not require government
   subsidies to pay for itself, it is paid for by savings generated by savings to
   workers’ compensation coverage managed and committed to on-the-job
   training, safety, technology education, risk management and loss control to
   reward the value of hard work.
192. Upgrading skills allows a disadvantaged person ready, willing and able to
   work, to compete based upon skill rather than the color of their skin or
   ethnicity, the vision of 42 U.S.C. §§ 2000(e)-2(a), is lawful affirmative-
   action and equal employment opportunity. Fewer young people are entering
   the skilled trades, employers are struggling to find enough skilled workers
   to undertake the massive infrastructure projects which are sorely needed.
   With an expected workforce shortage of craft professionals and service
   members projected to leave the military over the next five years, it is the
   "Percy Program" as the Alternative Employment Practice.


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193. Workers’ compensation coverage is the framework for providing the Percy
   Program as an Alternative Employment Practice, providing the
   apprenticeship through safety, risk management in workers’ compensation
   coverage and enrolling the new workforce to work alongside existing
   journeypersons, will grow the depth of skilled workers whose ranks are
   being diminished through age and attrition. Disadvantaged persons ready,
   willing and able to work, are given an opportunity and employers build a
   reliable workforce to complete contracts competently and profitably. This
   workers’ compensation based program delivers diversity opportunities. The
   key is having broad work processes available for meaningful long-term
   opportunities for all aspects of skilled craftsmanship available on large
   multi-disciplined contracted project facilities.
194. Workers’ compensation insurance is a required part of all employment and
   is an ideal mechanism within which to fit OJT apprentice training so as to
   foster equal employment opportunity.
195. The Percy Program as an Alternative Employment Practice can be funded
   by savings workers’ compensation costs resulting loss control and safety
   training, and safe work habits without costing Owners or Employers or
   diverting any of the funding for the public work facilities. This is
   accomplished by simply applying savings resulting from reduced losses due
   to the Percy Program and allocating those savings to pay for apprenticeship
   out of the premium paid for workers’ compensation coverage.
196. The apprenticeship program portion of the Percy Program as the
   Alternative Employment Practice is ideally suited to train and create jobs for
   the Class as identified by Judge Lasker in Percy v. Brennan. The Apprentice
   Program as the Alternative Employment Practice is an outgrowth of a
   commitment to minimize loss and risk in the work place by educating and
   training apprentices and journeypersons on safe and healthful practices,
   workers’ safety is impacted in a positive manner resulting in greater control
   of risk reducing loss for employers and their carriers.
197. Written assessment and performance verification will implement career
   pathways created and endorsed by both industry and education, perfect for
   service members with construction training and/or experience who are
   interested in taking the assessments.
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198. The most beneficial and constitutionally correct solution that is certainly a
   less onerous alternative to address and correct the inequity and foster equal
   employment is for the Owners to require that the Employers provide paid
   OJT and continuing education for those ready, willing and able to work, as
   agreed by the Employer Contractors in compliance with EO 11246. The
   Owners are not relieved from their obligations under the Civil Rights Act
   and EO 11246 by passing the burden through to Employer/contractors.
199. Although there is some positive benefit of identifying disadvantaged
   business enterprises to be entitled to special treatment, the 14th amendment
   does not permit that to occur, based upon race, color, or creed, either
   positively or negatively. Minority business enterprise goals have been
   corrupting and evil, propagating fraud and criminal activity, but that is
   not complained of in this action. Goals being used under the guise of
   fostering disadvantaged business enterprises thereby satisfying affirmative
   action for equal employment opportunity, has been accepted apparently due
   to the view that by allowing unequal treatment based upon the color of skin
   or ethnicity under the guise of equalizing opportunity, that is okay in
   leveling the playing field? Again, that is not within this Action. This
   proceeding is not to challenge that mechanism, but rather to enable the
   Alternative Employment Practice identified in the Lincoln Reconstruction
   Speech of April 11, 1865, namely: apprenticeship for freed people.
200. The Defendant Government Agencies, Owners and Employers have failed
   to provide a mechanism which enables disenfranchised persons ready and
   able to work, to gain experience on-the-job and join the gainfully employed
   workforce.
201. The Defendant Government Agencies, Owners and Employers have
   conspired, obfuscated, shirked and otherwise simply delegated the
   responsibility for the enforcement of these regulations, which protect the
   Percy Class.
202. The Advocates explained that the Class is ready and able to work, has
   consistently been deprived of the opportunity to obtain employment at the
   facilities and projects which receive Federal Funding.


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203. In depriving the Percy Class the equal opportunity, the Employers have
   covered up by the use of some minority business enterprise contractors only
   as fronts in order to appear to satisfy the contract requirements of hiring the
   identified minority and disadvantaged, failing to place the Percy Class on a
   level playing field and depriving the Class of vast numbers of real
   employment opportunities.
204. The Defendant Employers must sustain a very heavy burden of justification
   to show that there are no less onerous alternatives for achieving the purpose
   of affirmative action in equal employment opportunity, and yet to
   exacerbate this inaction, the Government Agencies have intentionally or
   unwittingly provided support and comfort to others yet to be identified and
   not named at this time, who have interfered and obstructed the Percy
   Program.
205. The proof will show that the State has actively supported, comforted and
   aided scoundrels who have taken improper advantage of the Percy Program,
   undermining the unique qualities and subverting the Percy Program to the
   scoundrels’ selfish and illegal purposes, undermining the viability of the
   Percy Program, injuring the Percy Class’s efforts to obtain by self-help the
   relief for which it sued Case 73-cv-04279.
206. The Percy Class ready and able to work, is a proper party to invoke judicial
   resolution of the dispute. This is not a suit merely for the ventilation of
   public grievances, there is injury-in-fact as set forth here as damages for lost
   wages and lost opportunity along with prospective equitable relief enjoining
   the Defendants from undermining the Percy Program, and mandating
   adoption of the Alternative Employment Practice..
207. This plenary action is brought by Percy on behalf of Class Plaintiffs, to
   enforce the Memorandum/Order and Order and settlement in the lawsuit
   by Percy seeking relief as affirmative action for apprenticeship to develop
   skills and equal employment opportunity enforcing the Civil Rights Act and
   LBJs Presidential EO 11246, still on the books and written into all contracts
   involving Federal Funding.
208. This Action is to require affirmative action by providing Apprenticeship
   Training pursuant Fitzgerald Act (29 U.S.C. § 50, the National

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   Apprenticeship Act of 1937, section 1 (29 U.S.C. 50) under U.S. Department
   of Labor's Bureau of Apprenticeship and Training (BAT) and 29 C.F.R. Subt.
   A, Pt. 29 and Pt. 30 and as may be delegated by the US Department of Labor
   Bureau of apprenticeship training and complies with the following New
   York State Department of Labor regulations: Equal Employment
   Opportunity in Apprenticeship Training (Part 600), Regulations Governing
   the Registration of Apprenticeship Programs and Agreements (Part 601),
   and Labor Law, Apprenticeship Training (Article 23), under the authority of
   EO 11246, restraints which EO 11246 requires of the recipients of Federal
   Funding.
209. 40 U.S.C. § 486(a) is the source of the Executive power to issue EO 11246,
   authorizing the President to prescribe such policies and directives as he
   deems necessary to effectuate the provisions of Chapter 10 of Title 40.21 and
   Chapter 4 of Title41. 22, chapters dealing with procurement of Government
   property and services, not limited to federal assistance programs. The
   federal government has a vital interest in assuring that the largest possible
   pool of qualified manpower be available for the accomplishment of federally
   assisted projects.
210. Discrimination in employment affects the cost and the progress of projects
   in which the federal government has both financial and completion
   interests.
211. 42 U.S.C. § 2000e-5(g) imposes no restraint upon the measures which the
   President may require of the beneficiaries of Federal Funding where
   discrimination would adversely affect cost and progress of federally funded
   projects. The strong federal interest in ensuring that the cost and progress
   of these projects were not adversely affected by an artificial restriction of the
   labor pool caused by discriminatory lack of skilled craftsmen in employment
   practices, federal procurement acts provide constitutional authorization for
   application of EO 11246, providing the nexus between the efficiency and
   economic criteria of the federal procurement acts.
212. EO 11246 acts to protect the federal government's financial interest in the
   federal and state projects thereby establishing the sufficiently close nexus
   sought by the Supreme Court in Fullilove v. Klutznick, 448 U.S. 448, 100 S.
   Ct. 2758, 2785-90, 65 L. Ed. 2d 902 (1980), where application of EO 11246
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   must be reasonably related to the Procurement Act's purpose of ensuring
   efficiency and economy in government procurement in order to lie within
   the statutory grant of power.
213. The exercise of quasi-legislative authority by the President in his
   departments and agencies is rooted in a grant of legislative power by the
   Congress, Chrysler Corp. v. Brown, 441 U.S. at 304, 99 S. Ct. at 1719 U.S.
   and lies reasonably within the contemplation of that grant of authority, Id.
   at 306, 99 S. Ct. at 1720, resting upon the close nexus between the
   Procurement Act's criteria of efficiency and economy and the executive
   order’s predominant objective of containing procurement costs. When the
   Congress authorizes an appropriation for a program of federal assistance,
   and authorizes the Executive branch to implement the program by
   arranging for assistance to specific projects, in the absence of specific
   statutory regulations it must be deemed to have granted to the President a
   general authority to act for the protection of federal interests, including all
   federal procurement contracts and also all federally assisted contracts. In
   direct procurement the federal government has a vital interest in assuring
   that the largest possible pool of qualified manpower be available for the
   accomplishment of its projects. It has the identical interest with respect to
   federally assisted projects.
214. In Case 73-cv-04279, Percy sought apprenticeship to obtain skills to enable
   members of the Percy Class to compete for employment. In Case 73-cv-
   04279, Defendants had a full and fair opportunity in Case 73-cv-04279 to
   litigate the issue of the enforcement of EO 11246 requiring that affirmative-
   action be taken to provide apprenticeship to develop skills and equal
   employment opportunity.
215. The Percy Class has been injured by the Defendant Government Agencies,
   Owners and Employers violating and continuing to violate the
   Memorandum/Order and Order by failing to implement regulations and
   laws.
216. For all of the federal dollars poured into public work projects and facilities
   over these past forty-five years since the decision of Judge Lasker in Percy
   v. Brennan 73 Civ. 4279, 384 F.Supp. 800 (1974), there has been virtually
   no meaningful training, enabling the equal employment opportunity
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   envisioned by President Lyndon Johnson upon the signing of the Civil
   Rights Act of 1964 and the adoption of the Presidential EO 11246.
217. Parties who would oppose this action should not fear a threat because
   training the Percy Class in skills and safety will not take jobs, instead it will
   create economic opportunities which does not currently exist by utilizing the
   free enterprise wealth of our nation, its labor, to fix its infrastructure of all
   sorts, which is so desperately needed. Workers are the real wealth of our
   country, the labor-theory of value. Wealth increases by the output of labor,
   not by the amount of money or capital accumulated. The greatest physical
   wealth results from the greatest utilization of our vast diverse workforce, the
   liberty and freedom of all individuals to work, save, buy, earn at their
   pleasure, and economic life would settle into a natural order and
   productivity would thrive 12.
218. These are the necessary elements of a prima facie cause of action for
   violation of 42 U.S.C. §§2000e et al, depriving rights secured to the Percy
   Class as the Complaining Party by the 5th and 14th Amendments to the
   United States Constitution, 42 U.S.C. §§§ 1981, 1983, 1985, and United
   States EO 11246.
     XII.     DEFENDANT GOVERNOR OF THE STATE OF NEW
                YORK AND DEFENDANT STATE OFFERED A
            SETTLEMENT OF PERCY V. BRENNAN IN CASE 73-CV-
               04279 THAT IS UNENFORCEABLE AND FAILED
219. In January of 1977 the Defendant State of New York presented to the
   Lasker Court, Governor Carey’s Executive Order 45 (9 NYCRR 3.45) in
   settlement to resolve the issues raised in the Case 73-cv-04279, Docket #99,
   Appendix 1, Volume 3 pages 749-757, 758-785, 786, 795 and Docket #103,
   Appendix 2, Volume 4, pages 823, 851 and 860 in 17-2273.
220. Thereupon, Case 73-cv-04279 was closed without prejudice, Judge
   Edelstein’s Order of May 4, 1977, page 740 of Appendix 1 at Docket #99 in
   17-2273.


          12 It is that free competition and equal employment opportunity that is the wealth of the United

   States of America, Adam Smith, in the Wealth of Nations, studied and emulated by Jefferson and the
   Franklin over two centuries ago

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221. Then the New York Court of Appeals in Fullilove v Carey (48 NY2d 826
   [1979]) declared that EO 45 (9 NYCRR 3.45) as promulgated by Governor
   Carey was an unauthorized exercise of legislative power, illegal and
   unconstitutional and enjoined implementation of the provisions of said
   Executive Order or promulgating or enforcing any rules and regulations
   issued pursuant to said EO 45. Decided together with Fullilove v Carey, was
   Fullilove v Beame (48 NY2d 376 [1979]), where the Court of Appeals of the
   State of New York determined that despite the redeeming social needed for
   the relief which EO 45 intended, would not save the illegality of the method
   to provide the opportunity for the Percy Class to acquire necessary skills to
   compete for employment, see Fullilove, 48 NY2d 826). Unfortunately, EO
   45 was and is unconstitutional and unenforceable, causing the Percy Class
   to not receive the relief provided for in EO 45.
222. Despite the illegality of EO 45, it still remains today at 9 NCRRNY 3.45,
   with no notification having been made to the Percy Class of its
   unconstitutionality and unenforceability.
223. The State's actions or failure to act, and failure to notify, were gross
   negligence and active misrepresentation, causing injury and damage to the
   Percy Class when the State proffered EO 45 in settlement of Case 73-cv-
   04279, but it failed.
224. There is an ongoing obligation of the State to notify and correct the
   misrepresentation about EO 45. What is flagrantly missing from Appendices
   1 and 2 is any record that the Percy Class was notified of the
   unconstitutionality and unenforceability of EO 45 which was proffered in
   settlement of Case 73-cv-04279 regarding affirmative action, in other words
   the settlement failed.
Defendant State and its Agencies, Actively Undermine the Percy
Program
225. The Plaintiff will produce evidence to persuade and show that the State has,
   in fact, interfered with the Percy Program’s ability to provide affirmative
   action in equal employment opportunity, despite the redeeming value of
   allowing the Percy Program as an Alternative Employment Practice
   demonstrated to the State to meets the burden of production and persuasion

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   under Title VII of the Civil Rights Act by the Advocates on behalf of the Percy
   Class.
226. The State and the Government Agencies are failing to effectively foster
   affirmative action, and in fact, the State has no meaningful affirmative
   action program at all. The State should have allowed a vehicle to provide
   affirmative action where none exists.
227. The Advocates presented the Percy Program as an Alternative Employment
   Practice to Governor David Patterson, at a meeting arranged by Clemmie
   Harris, proposing that the State of New York adopt and mandate the
   Alternative Employment Practice but the State of New York has remained
   apathetic to the plight of the Percy Class and has not taken effective steps to
   correct the disparate treatment to the Percy Class, especially where, as here,
   the State in concert with others yet to be identified in fact have taken active
   steps to put the Percy Program out of business
228. Failure to notify the Percy Class, covering up, hiding and secreting the
   State’s failure to accomplish the affirmative action relief awarded in Case
   73-cv-04279, whether negligently or intentionally, and then taking overt
   steps to eliminate the Percy Program, is all to the damage of the Percy Class.
      XIII.  DEFENDANT OFFICE OF FEDERAL CONTRACT
            COMPLIANCE ("OFCC") OF USDOL FAILS IN ITS
          RESPONSIBILITY OF DISCHARGING THE FUNCTIONS
                    OF USDOL UNDER EO 11246
229. OFCC is the agency within the U.S. Department of Labor responsible for
   enforcing equal employment opportunity laws and affirmative action plan
   requirements against companies have utilized Federal Funding.
230. Contracts require Owners and Employers to comply with all federal laws,
   regulations, executive orders, policies, guidelines, and requirements
   applicable to the acceptance and use of Federal Funding including but not
   limited to: the Civil Rights Act, Executive Order 11246, 49 CFR Part 21-
   Discrimination in Federally-assisted Programs and Effectuation of the Act.
231. EO 11246 seeks to implement the anti-discrimination program of the Civil
   Rights Act. EO 11246 binds the Employers and the Owners. Section 202(1)
   of the EO provides: The contractor will take affirmative action to ensure
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   equal employment opportunity. Such action shall include but not be limited
   to the following: employment upgrading, demotion or transfer; recruitment
   or recruitment advertising; layoff or termination; rates of pay or other forms
   of compensation; and selection for training, including apprenticeship, 30
   Fed. Reg. 12,319 (1965), the "color blind" approach envisioned in E.O. 11246.
232. Section 202(1) of EO 11246, 30 Fed. Reg. 12,319(1965), provides that: The
   contractor will not discriminate against any employee or applicant for
   employment because of race, color, religion, sex, or national origin. The
   contractor will take affirmative action to ensure that ready, willing and able
   applicants are employed, and that employees are treated during
   employment, without regard to their race, color, religion, sex, or national
   origin. Such action shall include but not be limited to the following:
   employment upgrading, demotion or transfer; recruitment or recruitment
   advertising; layoff or termination; rates of pay or other forms of
   compensation; and selection for training, including apprenticeship.
233. As a result of the Defendant OFCC’s failure enforce EO 11246 terms of
   contracts to accept the Alternative Employment Practice or to otherwise
   comply with the employment of the Percy Class, has damaged the Percy
   Class by continuing chronic injury and damage to the Percy Class ready,
   willing and able to work, , and damaging the families of the members of the
   Percy Class, their children growing up in poverty, significantly
   disadvantaged in education and skills, struggling to get a job, deprivation of
   opportunity, including members of the Percy Classes’ children growing up
   in poverty, significantly disadvantaged in education and skills, struggling to
   get a jobs reported on analysis by Cadora in 2nd Circuit Appeal 17-2273,
   Docket #104, Appendix 3, pages 39-57.
234. The Defendant Government Agencies are charged with enforcing EO 11246
   as contractual conditions to Federal Funding for public work facilities,
   therefore they are equally culpable with Owners and Employers identified
   in the tag-along causes of action for the lost wages, lost benefits and lost
   opportunity to which the Percy Class is entitled as third-party beneficiary.




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        XIV.     CAUSES OF ACTION AGAINST EMPLOYERS
235. Work by Employers paid for by Federal Funding is analyzed as tag-along
   causes of actions to this lead action.
236. The five Counties of the City of New York are ground zero for the Percy Plan
   as the Alternative Employment Practice. Tag-along causes of actions may be
   updated from time to time as the boundaries and limitations are
   investigated and expanded. As the investigation presently stands, in public
   work construction in the five Counties of the City of New York alone, in the
   since 2017, there have been 1787 public work projects identified here as tag-
   along cases, on which there were 16,077 apprenticeable opportunities that
   did not occur for the Percy Class, denying the Percy Class:
         $894,488,139 wages, and
         $782,677,122 employment benefits, for a total of
        $1,677,165,261 direct damage to the Percy Class for lost wages and
   benefits.
237. Individual Causes of Action in each proposed tag-along case detail the
   number of apprentice positions that should have been filled resulting in lost
   wages listed by Employer.
Defendant Employers have Violated and Continue to Violate 42
U.S.C. §2000e–2(k)(1)(A)(ii) and 2(k)(1)(C)
238. The Defendant Employers have used unlawful employment practices of
   discrimination on grounds that the Plaintiff is able to meet its burden of
   production and persuasion proving that there was a less discriminatory
   alternative method of employment practice available that the Employer
   could have adopted. Failing to adopt the alternative employment practice
   without valid justification is an unlawful employment practice violating 42
   U.S.C. § 2000e-2(k)(1)(A)(ii) and (k)(1)(C) of the Civil Rights Act of 1964 as
   amended in 1991, and as a result the Court is warranted in providing relief
   to the complaining party Percy Class.
                   XV.     JURISDICTION AND VENUE
239. This action asks for equitable relief along with monetary relief in the tag-
   along actions exceeding the monetary jurisdiction of any inferior courts.
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   This Court’s general jurisdiction covers violations of these laws, statutes,
   executive orders, regulations, rules, federal agreements and covenants to
   which persons such as the Percy Class are intended third-party
   beneficiaries, a dispute within the jurisdiction of this Court.
240. Venue in this Court is proper because a substantial part of the events giving
   rise to the claims made herein occurred in and about the City of New York.
                     XVI.     THE PERCY PROGRAM
History of Apprenticeship in the Percy Program
241. The Percy Program was developed with the assistance of predecessors of
   Defendant State DFS officers: former Chief Deputy Frank Donohue, and
   former General Counsel Morty Greenspan, who worked tirelessly to
   shepherd the development of the Percy Program. Oriska's singular mix of
   tools provides training and working environments that exists nowhere else.
   Such rich benefits under the Percy Program results in retention of well
   trained, competent and safety conscious workers for employers who
   participate in the Percy Program.
242. It happens that 90% of the persons accessing the Percy Program have been
   minority or disadvantaged by natural selection, meaning that the
   disadvantaged have a difficult time being accepted into organized labor OJT
   apprenticeship programs. The Percy Program can work with unions utilizing
   union journeypersons for OJT apprenticeship of Percy apprentices,
   providing jobs to union members and apprentices, benefiting all.
243. The Percy Program begun in 1984, and for 25 years has provided
   apprenticeship to hundreds in the skilled trades. The Percy Program moved
   from upstate New York to the Bronx in 1999 to accomplish the same
   substantial and permanent good that was accomplished upstate.
244. In 1998, Percy, through Oriska, began the Apprenticeship Programs in the
   New York City area at SUNY Maritime College in the Bronx. The Percy
   Apprentice Training Program is an integral part of Percy’s safety training
   and loss control for Workers’ Compensation insurance coverage and
   Employee Benefit insurance coverages designed specifically to comply with
   prevailing wage and supplement benefit requirements for the construction
   industry. The related classroom instruction part of apprenticeship training
                                          60
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   was designed to comply with requirements of the New York State
   Departments of Labor and Education. Since 1999, the Percy Program, in
   partnership with State University of New York Maritime College (“SUNY
   Maritime”), has trained skilled trade persons through the OJT Apprentice
   Program.
245. The Percy Program works under the delegation of authority by the Federal
   Bureau of Apprenticeship Training to the NYS Departments of Education
   and Labor. The Percy Program works under the guidance, authorization and
   regulation of the New York State Departments of Education and Labor.
246. Workers’ safety is affected positively utilizing the Percy Program, resulting
   in greater control of risk, reducing loss for employers and injuries and
   illnesses to employees, through instruction in safe and healthful practices.
247. The length of apprenticeship varies from two to five years, depending on
   the occupation. The Program works especially well in public works
   construction where the federal Davis-Bacon law and the NYS Labor Law
   Article 8 keep wages in the skilled trades high. The apprentice is paid a
   percentage of the journeyperson rate while in apprenticeship as part of the
   workforce working under the guidance of more experienced workers called
   journeypersons.
248. Successful completion of all requirements results in award of a NYS
   Department of Labor Certificate recognized by the Federal Bureau of
   Apprenticeship Training verifying journeyperson competency.
Worker Assessment
249. All workers undergo a complete series of entry- and journey-level
   assessments as part of the Percy Program. These assessments evaluate the
   knowledge of an individual and provide a prescription for upgrade training
   when needed. All assessments are based upon curriculum developed in
   conjunction with subject matter prevalent in the covered industry. The
   assessment and certification are in compliance with existing federal, state
   and local employment laws.
250. Management assessment tests assess an individual's skill level.
   Performance verifications are administered by a qualified objective
   performance evaluator.
                                     61
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Hazards in the Workplace OSHA Application
251. Occupational Safety and Health Act of 1970 Section 5(a)(1), “General
   Duties Clause”, recognizes hazards in the workplace that are causing or are
   likely to cause death or serious physical harm, including from airborne
   infectious diseases. Mitigation is by engineering and administrative
   controls, and by safe work practices.
       Personal protective equipment (PPE, including goggles, face mask,
   gowns) as may be necessary, to assist medications, including IV, oxygen
   monitoring, and administration of bathing, personal care in hospitalization,
   home health care and nursing home settings.
        Engineering controls include mechanical methods of separating an
   employee from a workplace danger, air filtration systems or physical
   barriers, sneeze guards.
        Administrative controls changing human behavior to reduce exposure
   to a hazard, encouraging sick employees to stay home, keep workers six feet
   apart from each other and reducing unnecessary travel to locations with
   coronavirus outbreaks.
        Safe work practices provide disinfecting products so employees can
   clean their work surfaces.
        Working in personal protective equipment (PPE) including masks,
   gloves, hard hats, eye protection and respirators, nurse working triage in
   hospitals.
         Apprentices and journeyperson employees will receive various work
   experiences listed below (customized to the needs of specific employers,
   local requirements and specific care settings). The apprentice will learn and
   practice the competencies working with a mentor on the work site.
        Each Apprentice(s) and journeyperson employee must be instructed
   in safe and healthful work practices and shall ensure that apprentice(s) are
   trained in facilities and other environments in cleaning, decontamination &
   disinfection, area specific safety standards, OSHA/blood borne pathogens,
   microbiology, mold, viruses, bacteria (e.g. cross contamination, chain of
   infection, microbial transmission, how CS supports infection prevention),
                                           62
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   where to obtain area specific safety awareness standards (e.g. safety data
   sheets (SDS)) by regulatory agencies & professional associations).
252. Work areas covered include decontamination, correct cleaning agent or
   chemicals for cleaning process, supplies needed (e.g. brush, towels, location
   of restock):
         equipment (e.g. washer disinfector, ultrasonic, cart washer, leak
   tester), determine & prepare chemicals following the manufacturer's IFU
   (e.g. dilution, equipment), check & replenish chemicals in equipment,
   determine the correct chemicals for the equipment, testing the functionality
   of light & magnification devices, clean sink strainer/drains (e.g. frequency),
   quality tests, efficacy testing process for washer/disinfector, efficacy testing
   process for ultrasonic, efficacy testing process for automated endoscope
   reprocessor (AER),
        efficacy testing process for cart washer, frequency of quality tests (e.g.
   washers, ultrasonic, AERs, cart washers), document & interpret quality test
   results (e.g. quality assurance testing program), maintenance &
   troubleshooting of equipment, interpret the manufacturer's IFU (e.g.
   operator's manual, locate), identify, respond & report malfunctions and/or
   alarms, clean equipment strainers/drains, Identification of outlets (e.g.
   on/off, regular, emergency), chemical feed line functionality (e.g.
   identifying detergent dosage), clean & test spray arms, check washer
   manifolds & baskets, identification & separation of reusable & disposable
   items, sorting reusable & disposable items (e.g. laparoscopic tips, linens,
   drapes, third-party recycling vendors, sustainability), dispose of sharps &
   non-reprocessed items (e.g. biohazards vs non-regulated trash, sharps
   container), preparing items for decontamination, identify manual and/or
   mechanical cleaning according to the manufacturer,
        proper opening & positioning of instruments, disassemble
   instruments, what goes in each sink (e.g. two or three sink method), soak
   process (e.g. water temperature, dilution), brushes (e.g. selection, size &
   care, single use vs reusable), prevention of aerosols,
       use of high-pressure water & air gun/hose (e.g. critical water), visual
   inspection of bioburden removal (e.g. magnifying devices), properly load
                                            63
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items into the equipment, selection of appropriate wash cycle, methods for
reducing the risk of toxic anterior segment syndrome (TASS), special
precautions for Creutzfeldt-Jacob Disease (CJD) instruments, selecting &
using appropriate disinfectant, disinfectant family (e.g. Quats, Halogens,
Aldehydes), three levels of Spaulding classification (e.g. non-critical, semi-
critical, critical),
    identifying, selection & use the appropriate chemicals (e.g. exposure
times, rinsing), documentation of chemical testing (e.g. temperature,
minimum effective concentration(MEC)),
      correction for failed quality tests (e.g. temperature, MEC), high level
disinfection (HLD) process, safety measures when using HLD (e.g. PPE,
spill kit, ventilation), dilution requirements (e.g. concentration, expiration,
end of use date, labeling),
     rinsing requirements (e.g. critical water), proper documentation (e.g.
technician information, patient information, exposure time & solution
temperature, lot control number), are, handling & storage (e.g. drying,
expiration date), proper disposal methods (e.g. neutralizer),
     transporting guidelines (e.g. closed container, clean labeling),
transferring items to preparation area, maintain appropriate air flow (e.g.
negative pressure, positive pressure), prevent cross-contamination (e.g.
point of use cleaning & decontamination prior to IUSS), performing a visual
check for cleanliness, preparation & packaging, area specific safety
standards, area specific safety awareness (e.g. hot carts, wet floors, hot
trays), sharps safety (e.g. skin hooks, k-wire, towel clips), equipment
operation (e.g. heat sealers, insulation testers, scope inspectors), where to
find Safety Data Sheets (SDS), chemical safety & handling (e.g. interpreting
the manufacturer's instructions for use (IFU) & SDS, disposal),
     ergonomics (e.g. work-flow, proper body mechanics), traffic flow,
hand-hygiene, temperature & humidity of the work environment, standards
for temperature, standards for humidity, recording & documenting
temperature & humidity (e.g. frequency), corrective actions taken if not
within parameters (e.g. who to notify), preparing work area for packaging,
dress code, supplies needed (e.g. indicators, tip protectors, tray liners, tape),
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work area requirements (e.g. cleaning requirements, lighting,
magnification), receiving items for preparation, unload equipment (e.g.
instrument, cart washers), accept manually cleaned items (e.g. pass-through
window), identify & sort items (e.g. service, facility, loaner),
      inspecting items for cleanliness & functionality, check for cleanliness
& functionality, proper testing tools & process for checking functionality of
items (e.g. sharpness testing), process of handling broken and/or damaged
instrumentation (e.g. dull, misaligned, documentation), lubrication of items
(e.g. according to the manufacturer's IFU, when & lubricate), assemble, test
& disassemble items according to the Manufacturer's IFU, identifying
correct contents for assembly, utilizing count sheets, peel pack lists, tray
lists, identify items (e.g. catalogs, product number, computers, tape,
etching, cross-referencing),
     sizing & measuring items, assembling contents for packaging,
instrument protection devices (e.g. tip protectors, foam, mats, tray liners),
proper instrument placement (e.g. facilitate sterilization, protect
instruments), instrument organizers (e.g. stringers, racks), class/type &
appropriate use of chemical indicators/integrators (e.g. proper placement,
intended cycle),
     weighing limits & weight distribution, packaging method, types of
packaging method (e.g. flat wrap, peel pack, container, size, packaging
weight, sterilization method/cycle to be used, external indicators (e.g. locks,
tape), inspecting packaging (e.g. wrap, rigid containers),
     closing methods (e.g. tape, locks, heat seal, self-seal, proper packaging
methods (e.g. peel packs, rigid containers, wrap (simultaneous vs
sequential)), proper wrapping techniques (e.g. square fold, envelope),
labeling method, approved writing instrument,
     placing of labeling & writing (e.g. write on plastic side of peel pouch,
write on tape not wrapper), proper label information (e.g. missing items,
tray information, technician identification, storage destination), special
information identifiers (e.g. implant, loaners, sterilization methods/cycle),
date of sterilization/date of expiration (e.g. event-related vs time),
transferring items to appropriate area, proper item handling (e.g. stacking,
                                         65
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   rough handling (sliding), package integrity),
        prioritizing for rapid turn-around, ergonomics (e.g. workflow, body
   mechanics), track items (e.g. manual, computer), documentation & record
   maintenance, record maintenance, record keeping (e.g. policy & procedure,
   what needs to be kept, type of records, record location, quality test results),
   purpose of record keeping (e.g. standards, legal documents), environmental
   condition monitoring & corrective action, appropriate air exchanges &
   pressures for all work areas, corrective action plan for environmental
   conditions out of compliance (e.g. temperature, humidity, air flow,
   regulatory bodies).
253. Covered:
         sharps safety, equipment operation, chemical safety & handling (e.g.
   spill kit, interpreting the manufacturer's instructions for use (IFU) & SDS,
   disposal), Location, operation & testing of eyewash station & shower,
   ergonomics (e.g. work-flow, proper body mechanics), Traffic flow, contain,
   transport & receive soiled items into decontamination or soiled utility rooms
   (e.g. inspecting for & reporting inadequate point of use cleaning), Hand-
   hygiene (e.g. frequency), Personal Protective Equipment (PPE), what type
   of PPE to use, donning & doffing PPE, When to change & dispose of PPE,
   temperature & humidity of the work environment, standards for
   temperature, standards for humidity, recording & documenting
   temperature & humidity (e.g. frequency), corrective actions taken if not
   within the parameters (e.g. who to notify),
        employee education, safety & risk management, accident/incident
   reporting policy (e.g. patient tracing procedure, in event of needle stick, cut),
   orientation (e.g. health care facility, state & federal regulations, disaster
   plan, risk management & safety management policies), personnel
   monitoring (e.g. exposure control plan, badges), education & training record
   requirements (e.g. certification, competencies, continuing education, new
   equipment & processes),
       cleaning equipment (e.g. according to the manufacture, drains,
   chamber), checking equipment functionality (e.g. error codes, printer,
   incubators), sterilizer tests, leak tests, bowie dick/air removal tests,
                                             66
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   biological tests (e.g. high & low temperature, cycle changes), when to
   perform tests (e.g. repair, construction, malfunction, routine), sterilization
   methods & cycles, high temperature (e.g. steam, dry heat), low temperature
   (e.g. gas plasma, vaporized, ethylene oxide, liquid chemical), anatomy &
   phases of the high & low temperature sterilizers, different types of cycles
   (e.g. gravity, dynamic, standard, advanced),
         pre & post-sterilization package integrity, what compromises integrity
   (e.g. moisture, holes, filters, broken locks & seals), filter placement, locks,
   seals & external indicators, load sterilizer, load configuration (e.g. metal,
   wrapped, rigid container, peel pouch), sterilization method verification (e.g.
   high vs low temperature), biological tests/process challenge devices (e.g.
   selection, placement), identify appropriate use of external indicators (e.g.
   sterilization method, placement), operating & monitoring sterilization
   equipment, sterilizer component checks (e.g. according to manufacturer,
   door gaskets, drains, carts, incubator temperature verification), select &
   change cycle for high & low temperature sterilizers (e.g. exposure, dry,
   temperature), replace & dispose of empty cartridges/tanks/cassettes, cycle
   parameter verification, interpret the printout (e.g. temperature, time &
   pressure exposure, cycle type),
254. Verification procedures to ensure accountability (e.g. initialing the
   printout):
        unloading sterilizer, what compromises sterility (e.g. cooling time,
   temperature, handling, equipment failure), traffic flow (e.g. cart placement),
   test results, proper handling & incubation of the biological tests/process
   challenge devices, quarantine (e.g. implants, early release),
         interpreting & document test results, potential process failures,
   identify a process failure (e.g. wet packs, color change, failure to meet
   sterilization parameters), procedure for follow-up after process failure (e.g.
   recall, documentation, contact), load control (lot) number, required
   information for a load control (lot) number, documenting sterilization load
   contents, how & what to record (e.g. computer or manual load log sheet),
   rationale for documentation (e.g. recall, traceability),
        customer relations, customer relations, communication etiquette (e.g.
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phone, email, text, active listening), decision-making skills (e.g. prioritizing,
critical thinking), communication types (e.g. formal, informal, service
recovery skills), medical terminology (e.g. anatomy & physiology, surgical
terminology, instrumentation), teamwork & work groups, types of work
groups (e.g. quality, cross-functional), decision making & accountability
(e.g. identify roles & responsibilities), task prioritization (e.g. reading the
schedule, turnover, anticipating customer needs),
     sterile storage & inventory management, area specific safety
standards, area specific safety awareness (e.g. traffic flow, hand-hygiene,
safety data sheets (SDS)), ergonomics (e.g. work-flow, proper body
mechanics), temperature & humidity of the work environment, standards
for temperature, standards for humidity, recording & documenting
temperature & humidity (e.g. frequency), corrective actions taken if not
within the parameters (e.g. who to notify),
      preparing the work area for storage, dress code, supplies needed (e.g.
carts (closed, open), rack system (closed, semi-closed, open)), work area
requirements (e.g. cleaning requirements), ordering & inventory
replenishment, inventory replenishment & distribution systems (e.g.
periodic automated replenishment, exchange cart system, requisition
systems), the ordering process (e.g. computerized vs manual), identify the
product (e.g. catalog numbers, item number, descriptions), unit of measure
(e.g. each, box, package, case), handle inventory deficiencies (e.g. outages,
substitutes, communication),
     receiving & inspecting inventory, proper break-out area (e.g.
corrugated cardboard, external shipping containers), inspecting for
integrity (e.g. what & when to check), expiration & manufacturing dates (e.g.
symbols, what & when to check), stocking & rotating inventory, location of
supplies (e.g. shelf/cart location, sterile supplies), shelf life policy (e.g.
expiration, event-related), process for rotating inventory (e.g. first in first
out (FIFO)), proper storage requirements (e.g. height, weight, distance from
wall/floor, shelving),
     distributing sterile & non-sterile items, distribution methods (e.g. just
in time, exchange cart, case cart), proper handling of items (e.g. maintain

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sterility), transport guidelines (e.g. closed cart, bins, dust covers, off-site
transport), monitoring & tracking items distributed, high dollar items,
specialty carts (e.g. code carts, emergency carts, c-section), critical items
(e.g. special order, non-stock items, doctor specials, patient specific items),
vendor-owned items (e.g. loaner, consignment),
     items organization and tracking (e.g. manual, RFID, computerized),
distribution to user departments (e.g. ER, OR, clinics, ICU), loss of sterile
items, handle manufacturer product recalls, common causes of waste & loss
(e.g. damaged, expired & obsolete items), patient care equipment, area
specific safety standards, area specific safety awareness (e.g. OSHA/blood
borne pathogens,
     personal protective equipment (PPE), electrical safety, hand-hygiene,
regulatory agencies & professional associations), equipment operation &
interpret the manufacturer's instructions for use (IFU) (e.g. operator's
manual), temperature & humidity of the work environment, standards for
temperature, standards for humidity, recording & documenting
temperature & humidity (e.g. frequency),
     corrective actions taken if not within the parameters (e.g. who to
notify), preparing the work area for distribution,
     supplies needed (e.g. sleeves, pads, equipment covers, clean
labels/stickers), work area requirements (e.g. cleaning requirements,
charging stations, plugs), receiving items for preparation, identifying types
of patient care equipment, process for recording & tracking equipment (e.g.
rental, loaned), the flow of patient equipment (e.g. one way flow),
     inspecting equipment for cleanliness & functionality, check for
cleanliness, check for compliance with safety standards (e.g. frayed cords,
preventative maintenance label, damage), corrective action plan for
equipment out of compliance (e.g. missing/expired preventative
maintenance label, who to notify), equipment requiring charging or battery
replacement, preparing equipment for distribution, assemble equipment for
distribution (e.g. disposable components, manufacturer test equipment
(e.g. per manufacturer), care & handling, location and proper storage of
equipment (e.g. dry, clean), distributing & tracking equipment, systems
                                         69
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used (e.g. manual, computer, hybrid), record & track distribution of patient
care equipment, transport guidelines to end user departments (e.g. or, ed,
labor & delivery),
     anatomy for central service technicians, cells, tissues and organs, body
systems: skeletal, muscular, nervous, endocrine, reproductive, urinary and
excretory, respiratory, digestive, and circulatory, anatomy and instrument
names, microbiology for central service technicians, overview of
microbiology,     beneficial    vs.   dangerous      microorganisms,       how
microorganisms are identified and classified, controlling and eliminating
microorganisms, regulations and standards, regulatory agencies,
professional associations, infection prevention, central service processes,
principles of asepsis, personal hygiene and attire, managing the
environment to manage the spread of bacteria, Occupational Safety and
Health Administration (OSHA) 29 CFR 1910.1030,
     environmental concerns in central service areas, elements of
transmission and the chain of infection, decontamination; point of use
preparation and transport, goals of point-of-use preparation and transport,
sources of contaminated items, point-of-use preparation: reasons and
guidelines, transport of soiled items, off-site processing, education and
training, cleaning and decontamination, introduction to the
decontamination work area, mechanical cleaners, equipment testing,
cleaning chemicals and lubricants, instructions for use,
     steps in the process of decontamination, decontamination,
disinfection, introduction to disinfectants, types of disinfectants, safe work
practices when performing manual disinfection, achieving disinfection
using mechanical processes, quality assurance for disinfection, quality
assurance testing for high-level disinfectants,
     surgical instrumentation, the important role of instrument selection
and inspection, instrument manufacturing process, classification and
overview of surgical instruments, postoperative care of surgical
instruments, solutions that damage instruments, instrument sharpness
testing and identification, instrument identification methods, instrument
lubrication, tips to protect instruments from damage, complex surgical

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instruments,
     power surgical instruments, endoscopes, rigid and semi-rigid
endoscopes, rigid and semi-rigid endoscope general guidelines for
decontamination, rigid endoscopic instruments, endoscopic and robotic
instrumentation, flexible endoscopes, cleaning and processing flexible
endoscopes, flexible endoscopic accessories, flexible endoscope regulations
and guidelines,
    Infection prevention issues, flexible and rigid endoscope care and
handling, endoscope camera care and handling, endoscopic repair,
     staff education, loaner instrumentation, assembly and packaging,
assembly and packaging area, primary goal of pack preparation, general
guidelines for preparation of pack contents, quality assurance measures -
internal chemical indicators, basic packaging procedures, reusable
packaging materials, disposable packaging materials, wrapping techniques,
methods of packing closure, package labelling, special packaging concerns,
point of use processing,
      use of steam sterilization, procedures for immediate use steam
sterilization, quality control monitors for immediate use steam sterilization,
point-of-use processing for heat-sensitive devices, high-temperature
sterilization, factors that impact sterilization, advantages of steam
sterilization, anatomy of a steam sterilizer, types of steam sterilizers used in
central service, steam sterilizer cycles, conditions necessary for effective
steam sterilization, basic work practices for steam sterilization, sterilization
quality control, low temperature sterilization, low-temperature basic
sterilization requirements, ethylene oxide, hydrogen peroxide systems,
ozone sterilization,
      sterile storage and transport, storage considerations, receipt of sterile
items into storage, event-related sterility, basic storage guidelines, cleaning,
sterile storage professionals, transporting sterile items, transportation
guidelines, monitoring and recordkeeping for central service, the
importance of accurate records, general monitoring, decontamination area
monitoring, high-level disinfection monitoring, sterilization monitoring,
sterilizer specific monitoring, personal monitoring, staff education, quality
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assurance, quality in central service operations, components of quality,
quality control indicators, analysis of quality concerns, quality program
alternatives, quality central service procedures, quality in central service
processing areas, managing inventory within the central service
department,
      handling commercially-sterilized items, item locator systems, loss of
sterile items, transport of commercially-sterilized packages, distribution of
supplies, sustainability, the role of central service in inventory management,
     role of central service in ancillary department support, identifying the
central service department's scope of service, patient care equipment,
procuring new and additional equipment, other patient care equipment
concerns, procedural support, utensils and other medical equipment,
communication and coordination is key, the role of information technology
in central service, role of computer-based information systems, tracking
systems for central service, features of instrument and equipment tracking
systems,
     safety and risk management for central service, risk management,
common workplace safety hazards, general hazards, area specific safety
concerns, other areas of concern, disaster preparedness, employee accidents
and injury, patient accidents and injuries,
     employee information and training, employee preparedness, success
through communication, need for effective communication and human
relations skills, common communication barriers, central service
technicians are professionals, basics of communication, human relations,
central service technicians and teamwork, central service and diversity,
customer service skills for central service technicians, setting priorities,
avoiding work group comparisons, committing to patient care during
disasters, personal and professional development for central service,
personal development.
     standard precautions, and consumer education, apprentice learns
about hand washing, using gloves,, and mixing universal solutions,
apprentice learns about disposal of wastes, use proper body mechanics at all
times and incorporate safe transfer and lifting techniques, is knowledgeable
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   about procedures in case of emergencies in the home, check equipment
   before use and notifies supervisor of any problems identified,
255. The Percy Program includes OSHA Certification Training providing health
   and safety certification programs to reduce occupational errors and promote
   protective measures, including OSHA classes, first aid, emergency planning,
   and fire safety, and OSHA’s recently released guidance on classification of
   worker risk to potential exposure to the coronavirus.
256. The Percy Program works closely with employers and their employees, on
   education/training, consulting with employers and employees on safety,
   OSHA regulations, hazardous material handling and health safety
   evaluation, airborne infectious diseases, lead abatement, asbestos blood
   borne pathogens, mold and other hazardous materials and fire, traffic
   control, fall protection, trench safety, drilling and blasting safety, hot and
   cold weld precautions, heavy equipment safety operation, scheduling and
   working height safety protection, incorporated into teaching programs. The
   Percy Program includes on-site safety inspections and risk assessment.
   creating safe work environments necessary to help to control the workplace
   and increase safety awareness and loss prevention. Loss prevention includes
   risk evaluation, pre-inspection, of sites includes loss history, nature of risk,
   safety practices and program compliance recommendations for
   implementation of safety programs.
OSHA 10 and 30 Hour Course
257. The 10 and 30 Hour course provides instructions on various industry safety
   and health standards. It introduces workers to safety standards and makes
   them able to recognize hazards, avoid dangerous situations and prevent
   accidents, includes intro to OSHA, fall protection, electricity, personal
   protective equipment, handling, storage, use and disposal of tools.
OSHA 10 Confined Space Entry
258. An OSHA 10 Permit is utilized for training to recognize, evaluate, control
   and abate safety and health hazards associated with permit-required
   confined space entry. The course focuses on the specific requirements of
   OSHA 29 CFR 1910.146, recognition of confined space hazards, basic


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   information about instrumentation used to evaluate atmospheric hazards,
   and general permit space ventilation techniques.
OSHA Ergonomics
259. An OSHA ergonomics course covers the use of ergonomic principles to
   prevent musculoskeletal disorders. Topics include anthropometry, video
   display terminals, work physiology, musculoskeletal disorders and risk
   factors such as vibration, temperature, material handling, repetition and
   lifting and transfers in health care. The course features industrial case
   studies covering analysis and design of work stations and equipment,
   laboratory sessions in manual lifting and coverage of current OSHA
   compliance policies.
OSHA Excavation, Trenching and Soil Mechanics
260. OHSA standard and on safety aspects of excavation and trenching,
   practical soil mechanics and its relationship to the stability of shored and
   un-shored slopes and walls of excavations, various types of shoring (wood
   timbers and hydraulic) are covered.
OSHA 7600 Disaster Site Worker
261. participants are made aware of safety and health hazards, including
   CBRNE agents that may be encountered at a natural or human made
   disaster site. The importance of respiratory and other personal protective
   equipment and proper decontamination procedures that may be used to
   mitigate the hazards are emphasized. Participants support the use of an
   Incident Command System through the safe performance of their job
   responsibilities. They will be able to show awareness of effects of traumatic
   incident stress that can result from working conditions and measures to
   reduce stress. Participants perform the following specific tasks:1) inspection
   of an air purifying respirator; 2) donning and doffing of an air purifying
   respirator; and 3) respirator user seal check; using skilled support services
   (e.g. utility, demolition, debris removal, or heavy equipment operation) or
   site cleanup services in response to a disaster.




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OSHA 2225 Respiratory Protection
262. Covers the requirements for the establishment, maintenance, and
   monitoring of a respirator program, OSHA standards, NIOSH certification
   and medical evaluation recommendations. Course highlights include
   laboratories on respirator selection, qualitative fit testing and the use of a
   large array of respiratory and support equipment for hands on training
   (Included Respiratory Medical Clearance Test and Respiratory Mask Fit
   Test)
OSHA 3110 Fall Arrest Systems
263. Provides participants with an overview of state of the art technology for fall
   protection and current OSHA requirements, including the principles of fall
   protection, the components of fall arrest systems, the limitations of fall
   arrest equipment, and OSHA policies regarding fall protection. Course
   Objectives: Identify various types of fall protection and their components;
   Recognize fall hazards and identify abatement methods for fall hazards;
   Define the proper use of fall protection equipment and personal fall arrest
   systems and slection of proper standards for citation purposes.
Fire Safety and Emergency Preparedness
264. The Fire Safety is designed to give a clear understanding of the Fire Code
   and Fire Rules, the duties of a Fire Safety Manager, the Fire Code
   construction site requirements, and construction site fire safety
   requirements, fire alarm systems; emergency procedures; training
   requirements; fire suppression systems; other building systems;
   maintenance; recordkeeping and knowledge of rules as they pertain to fire
   safety.
American Heart Association First Aid, CPR with AED
265. Procedures for CPR and choking, heart attacks, strokes, Automated
   External Defibrillator (AED) introduction, as well as topics such as bleeding,
   shock, fainting, poisoning, epilepsy, diabetic emergencies, allergic reactions,
   burn accidents, heat and cold emergencies, head and neck injuries, and
   musculoskeletal injuries, is certified, good for 2 years.


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Enforcement of smoking prohibitions
266. Inspection for accumulation of rubbish, location and use of fire
   extinguishers, and fire alarm pull stations when required; Information of
   the extent of the out-of-service condition; location of hazardous materials
   that are stored, handled or used in the building including fuel oil storage
   tanks; the means available for the fire guard to make required notification
Environmental Training Lead - Renovation, Repair and Painting
Class
267. The U.S. Environmental Protection Agency (EPA) Renovation, Repair and
   Painting (RRP) Rule, developed under the Toxic Substances Control Act,
   imposes requirements for contractors, property Owners and managers, who
   renovate, repair or prepare surfaces for painting in pre-1978 rental housing
   or space rented by child care facilities for lead safe work practices, learning
   lead laws that apply regarding certification and lead safe work practices.
Mold and Bacteria Remediation
268. Facts associated with mold, interpretation of data and the current general
   status of mold-related litigation, legislation, licensing, and certification, are
   covered.
Blood Borne Pathogens
269. Covered are exposure control plans and workplace practices that will
   minimize risks, OSHA standard universal precautions, personal protective
   equipment, safe work practices and engineering controls; decontamination;
   housekeeping; labels and signs.
Lead Worker EPA
270. Lead hazard control activities including elevated blood level (EBL), health
   department ordered projects, USHUD grant programs, public & Indian
   housing abatement programs and military abatement projects, include:
   health effects of lead poisoning and sources of lead exposure, testing for
   lead-based paint, worker protection, abatement, clean-up, clearance testing,
   disposal of abatement debris, regulation, guidelines and recourses for lead
   testing and abatement, risk management, hazard control strategies, waste
   disposal.
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Asbestos Handler
271. Employees on an asbestos project whose duties involve removal,
   encapsulation, application or enclosure of any asbestos material, or the
   disturbance of friable asbestos, medical surveillance, personal protective
   equipment, preparing the working area and setting up the decontamination
   unit, usage of negative pressure air filters, air monitoring and hazard
   communication regulations, EPA, OSHA & relevant state & local
   regulations, New York State Industrial Code Rule (12NYCRR56) and
   Federal USEPA and USOSHA regulations, waste disposal and
   recordkeeping requirements, air bulk sampling and glove bag techniques,
   confirming and minimizing airborne fibers, and on-site safety, are covered.
272. Air Sampling covering air sampling techniques, inspections and
   procedures, regulations and emergency response, becoming familiar with
   the methodology for representative quality assurance for both personal and
   area sampling for phase contrast microscopy (PCM) and transmission
   electron microscopy analysis (TEM) are included.
Apprentice Wages
273. Apprentices can be paid a percentage of journeyperson wage. If a wage and
   benefit determination for the public work construction applies pursuant to
   section 220 of the New York State Labor Law and the federal Davis–Bacon
   Act USC 40 U.S.C. §§ 276a-276a-5, re-codified as 40 U.S.C. 3141-3148, the
   apprentices rate is scheduled.
274. Out of the savings on the apprenticeship wage paid as a percentage of the
   journeyperson wage, an emolument to journeypersons who undertake, train
   and mentor the apprentices’ OJT, a 10% markup on such journeyperson’s
   wages is available. The journeyperson must be assessed and qualified as a
   trainer to be eligible for the training emolument.
        XVII.    COMPONENTS OF THE PERCY PROGRAM
275. The Percy Program on which we seek declaratory judgment relief against
   the Defendant Government Agencies on the enforceability of the Percy
   Program, includes apprenticeship and health, disability and workers’
   compensation benefits offered to employers.

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   The Benefit Program includes the following:
         • Workers' Compensation Insurance
         • Health Insurance
         • New York Statutory Disability Insurance
         • Short-Term Disability
         • Long-Term Disability
         • Contract Bonding, including Bid, Performance and Payment Bonds
        • Apprenticeship under the National Apprenticeship Act of 1937 as
   approved by the NYSDOL
276. Gaining control of workers' compensation costs is essential. Health care
   providers under intense pressure from health care programs, find it all too
   convenient to shift costs to workers' compensation coverage. This can raise
   the medical cost for any claim by a factor of 100 - 400%. To help alleviate
   this crushing burden, the Program offers a singularly unique 24-hour
   protection portfolio jointly administering workers' compensation, health,
   and disability coverages. Delivery of workers' compensation services and
   traditional health care reduces costs while providing employees with a
   simple, state-of-the-art system of health care delivery, combining care for
   injured and ill workers.
          Oriska Insurance is the sole provider of a fully insured 24-Hour
   Coverage Program of employee benefits (the “24-Hour Coverage Program”)
   offered by Oriska as a domestic New York insurance carrier. The 24-Hour
   Coverage Program seamlessly provides instant care through a workers’
   compensation carrier that is also a licensed health carrier, specializing in
   workers’ compensation, health and disability. Oriska is so singularly
   licensed, licensed for health in its P&C licensing, even though health
   coverage is normally the purview of a life carrier. This gives Oriska the
   ability to provide immediate care regardless if the injury is work-related or
   not in a cost-efficient manner. No other U.S. company is so specially
   licensed.
       The unusual licensing of Oriska for health, disability and workers’
   compensation insurance within the same carrier enables Oriska to provide
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 immediate care under its health coverage, returning injured employees to
 work, avoiding long term worker compensation benefit costs. Employees
 receive the same medical attention whether the injuries are work or non-
 work related.
       The necessary licenses for the business of accident and health,
 disability and workers’ compensation as specified in paragraphs 3 and 15 of
 Section 1113(a) of the New York Insurance Law, are required for the loss
 sensitive 24-Hour Coverage Program. These licenses were granted by the
 State to Oriska in 1993. The licenses required rating and form approvals by
 the DFS pursuant to Insurance Law §2307 and were first approved by the
 DFS for Oriska in 1994, and were revised and ratified in 2003, 2005 and
 2007. Oriska’s membership in the New York Compensation Insurance
 Rating Board (“NYCIRB”), credentialed with the New York Workers
 Compensation Board (“WCB”), recognized by New York State by the
 issuance of licenses under paragraphs 3 and 15 of Section 1113(a) of the New
 York Insurance Law, were necessary to legally operate this 24-Hour
 Coverage Program, intellectual property specifically approved for Oriska’s
 individual use and identity.
       This loss sensitive program of 24 hour work-related and non-work
 related coverage is accomplished by endorsing standard policies to provide
 coverage offered as a portfolio of coverages with basic required pieces that
 the insured must agree to take and participate in, a basic program that the
 insured agrees to by its Adoption Agreement. There are additional coverages
 that are added to enhance the program as the insured chooses.
      The basic coverage is workers’ compensation as shown on the
 Information Page of the Policy.
       A first aid emergency treatment, well care coverage rider and
 preventative care is added for claims which are not immediately accepted as
 work related in order to provide immediate medical care and treatment. If
 there is a C2 First Report of Claim alleging a work related incident, the
 Carrier so notifies the Workers Compensation Board but continues to pay as
 a non-work-related incident until a claim has been established by decision
 of the Workers Compensation Board.

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       In addition, a rider for Enhanced Statutory Disability shall apply for
 lost wages as an enhancement to supplementing Statutory Disability
 overage issued by the Carrier or to enhance Disability coverage provided by
 another carrier [upon renewal of the Program adopted by the Insured, the
 Carrier shall provide Statutory Disability Coverage at rates in place with
 another carrier at the time of the initial adoption of the Program, and
 thereafter at rates calculated by the Carrier for the experience of the Insured.
 If upon renewal of the Program the insured opts not to purchase its
 Statutory Disability Coverage from the Carrier, the Carrier has the option to
 non-renew the Program in its sole discretion].
       The Program includes first aid emergency treatment, well care, safety,
 risk management, loss control, education and continuing education, and
 apprenticeship. If an insured fails to participate in these aspects of the
 Program, the Carrier has the option to nonrenewal in its sole discretion.
      Oriska reports as a Large Deductible Discount below Standard
 Premium covering:
      Return to Work Incentive
      Drug Free Work Place
      Scheduled Deductible Credit
      Managed Care
      Work Place Safety
      Apprenticeship
      Premium Discount
       The Program coverage is as a trade association covering all of the
 employees of multiple-coordinated subsidiary policies issued to insureds.
 The maximum amount that a multiple-coordinated insureds are required to
 pay is annual standard premium as shown on the Information Page of its
 policy adjusted by audit, there is no override for the extra benefits provided
 under the Program.
       Assessment (assessments and taxes charged by the State) are paid
 directly to the State.
      From the Annual Premium paid in this loss sensitive Program a
 deductible premium is retained by Oriska as mutually agreed with the
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   insureds, and the balance paid as a deductible discount to a loss fund to
   cover actual benefit obligations incurred during the period the Program is
   in effect, providing an incentive to the insureds to emphasize safety and loss
   control activities. The deductible discount paid into the Loss Fund are funds
   that are restricted to the payment of the obligations of the Program as to the
   time and manner of payment out of the loss fund. When the loss fund
   balance exceeds 110% of the obligations as defined by the trust, the overage
   can be distributed as reduction in premium on renewal.
          The Program is funded by the flow of revenue from the multiple
   coordinated policyholders. The Carrier Oriska pays to the Loss Fund
   consisting of an imprest account and a trust for the reimbursement to Oriska
   Insurance for obligations of the Program (claim payments, loss adjustment
   expenses, reserves, safety training and risk management, and Bank and
   trust fees) to fund the obligations.
        All claims of injured or ill employees within the deductible covered
   under the Program are reimbursed from the Loss Fund either out of the
   Imprest Account or the Trust administered by the Administrative Trustee.
         After the aggregate limit as agreed between the parties the risk belongs
   to the Oriska.
         The 24 HR Program Discount for the loss sensitive program is agreed
   to by "mutual agreement" on a portfolio of coverages and attributes defined
   within the Program for managed care, loss control, safety training, risk
   management, continuing education, first aid emergency treatment, well
   care, apprenticeship, and aspects of the Program as added from time to time
   by mutual agreement.
  XVIII.    REGULATORY APPROVALS OF PERCY PROGRAM
277. The following is a summary of the regulatory approvals obtained by Oriska
   Insurance and Oriska Corporation for the Percy Program.
278. The Apprentice Program was first certified by the New York State
   Department of Labor and Department of Education in 1990. In 1999 the
   Apprentice Program moved to the Bronx.



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279. The endorsements subsequent to 1994, both by direct approval by the DFS
   or by adoption of NYCIRB policy endorsements, constitute modifications
   and/or additions to the 1994 Memorandum which initially detailed the
   workers’ compensation coverage approved by the DFS.
   DFS File 93100407-408 Memorandum, November 15, 1994
   Approval of Workers Compensation, Accident and Health, and Disability
   loss sensitive program.
         The Program is offered under Insurance Law 4235, Insurance Law
          3443 and Insurance Law 2307.
         Described as a Program of multiple coordinate policies to insureds
          who have adopted the Program through an Administrative Trustee
          and have elected coverage through the Program.
         The loss sensitive program endorses standard policies to provide
          coverage offered as a portfolio of coverages with basic required pieces
          that the Insured must agree to take and participate in.
         Provides for a Large Deductible Discount.
         The policyholder is the Administrative Trustee or the Professional
          Employer Organization licensed under Article 31 of the New York
          Labor Law.
         The maximum amount multiple-coordinated Insured policyholder is
          obligated to pay Oriska is the full audited Annual Final Premium plus
          Assessments.
         The Program is funded by the flow of revenue from the multiple-
          coordinated policyholders. The Annual Premium is divided into two
          (2) parts, the first is the Deductible Premium as a percentage of
          Annual Standard Premium which is as mutually agreed and which is
          retained by Oriska; and the second, the balance is the Deductible
          Discount to reimburse obligations.
         From the annual premium paid in this loss sensitive program the
          agreed deductible premium is retained by Oriska as mutually agreed
          with the Policyholder and the balance paid as a Deductible Discount
          to a Loss Fund to cover actual Obligations incurred.
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       It is not until the balance in the Loss Fund balance exceeds 110% of
        the coverage Obligations, can there be a return of a portion of annual
        premium to insureds.
       The Loss Fund consists of an imprest account and a trust for the
        reimbursement of Oriska for obligations of the Program (claims
        payments, loss adjustment expenses, reserves, safety training and risk
        management).
       Oriska requires collateral for the credit risk associated with the
        Deductible Credit.
 1996-09-26; NYCIRB LRRO Mutual Agreement Approval by DFS
       Modification approval to 1994 Memorandum to eliminate the NY
        Large Risk Rating Option limitations and allow the individual large
        risk.
       Revised the premium eligibility requirement to estimate annual
        standard premium in excess of $500,000.
 2002-11-02; WC Large Deductible Filing DFS Approval
       This is a significant modification to the 1994 Memorandum. Not only
        were there major changes to the “Program” per the 1994
        Memorandum, File 93100407-408 Memorandum, November 15,
        1994, the changes to the 1994 Memorandum were incorporated into a
        policy endorsement.
       2003 -02-13; Workers Compensation Large Deductible Plan Filing
        Approval OIC Final is the Department of Financial Services approval
        of the policy endorsement significantly modifying the 1994
        Memorandum.
       Essentially a changed form Large Risk Rating Option to Workers’
        Compensation Large Deductible Plan [Deductible Endorsement (WW
        99 06 01 (2002)].
       Requires named insured must sign a copy of the endorsement
        acknowledging responsibility to reimburse the program and
        confirming he/she understands the possible economic effects of being
        responsible for loss adjustment expenses.
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       The Plan is designed as an alternative to self-insurance.
       Provides the Explanatory Memorandum and Operational Rules.
       Solvency of insurer is protected by requiring collateral to secure
        reimbursement.
       Range of deductible amounts.
       Basis for computing Deductible Premium.
       Allows participation by Professional Employer Organizations.
       Provides underwriting guidelines.
       Deductible Endorsement.
       Establishes each named insured is jointly and severally liable for all
        deductible amounts under this policy.
       Prototype Trust Agreement to be used in lieu of a letter of credit to
        satisfy the security requirement in the endorsement for the related
        credit risk.
       Security of the employees is preserved because insurer has primary
        responsibility to pay claim liabilities to injured employees.
 2003-02-13; Workers Compensation Large Deductible Plan Filing DFS
 Approval
        The DFS approval letter of Endorsement WC 99 06 01 (2002).
 2005-02-15 Approval of WC Large Deductible Filing DFS Approval
       Large Deductible Program Endorsement approval [WC 99 06 01 B
 (01/05) NY] was obtained from the Superintendent of Insurance to increase
 the deductible to the greater of $1 million each occurrence/claim or 200%
 of audited standard premium.
      Amendments as Endorsements to the Policy form were approved as to
 how the deductible applies, miscellaneous definitions, and provisions for
 PEOs. A new paragraph I was added on Joint and Several liability.
 2007-12-05; NYSID Endorsement DFS Approvals
        Approval of Endorsement – WC 31 040 03A and WC 31 06 16A were

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   obtained from the DFS, also approved was Endorsement WC 99 01 01
   pertaining to the acceptable calculation of the assessment and premium tax.
   The revised Professional Employers Organization Deductible Endorsement
   – WC 99 06 01 C and the Deductible Program Endorsement – WC 99 06
   020 were also approved effective 2007.
280. Summary:
   Certain provisions in the 1994 Memorandum were superseded and are
   referenced in the endorsements that were approved by the DFS. It is
   significant to note that effective 2002, to ensure named insureds give
   informed consent, the rights and responsibilities of the named insureds are
   encapsulated in the endorsement which is part of the policy they receive.
   Use of the endorsement not only ensures insured are informed of critical
   aspects of the coverage such as the pooling arrangement and joint and
   several liability caveats, but that they also received the most current terms
   and conditions. The 2007 endorsement (WC 99 06 020) details the most
   current rights and responsibilities of the insured and is applicable to the
   examination period.
   The originally approved document, the 1994 Memorandum, still contains
   relevant administrative information and in particular is the governing
   document that authorizes the administrative trustee, the creation of a trust
   and imprest account and details how the multiple coordinated policy
   coverage works.
                          XIX.     NUMEROSITY
281. The number of members of the Percy Class are essentially unenumerable
   but are not indeterminate as certified in the Percy v. Brennan action Case
   73-cv-04279 being enforced here.
282. The Class defined and certified by Judge Lasker, as all black and Spanish
   surnamed persons residing in and about the City of New York is an
   extremely large and unwieldy class. To identify the Class, Percy counsel has
   caused to be sent out long overdue Notices of Settlement as Notices of
   Enforcement of the Settlement of [Percy v. Brennan Case 73-cv-04279.
283. Percy has sent thousands of letters, had hundreds of telephone calls, sent
   hundreds of emails in the past months seeking to identify persons who
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   would be the current generation members of the Percy Class, with the
   instructions for class members to opt-in, so as to identify each as a member
   of the Percy Class. At the same time, Percy has demonstrated its alternative
   employment practice to thousands of employers also within the greater New
   York City business community urging the adoption of the Percy Program in
   order to enable members of the Percy Class to compete for jobs and careers
   based on skills and not by skin color, or ethnicity.
284. Included in the mailing was a Notice of Enforcement Action to the Class of
   enforcement of the Percy v. Brennan Settlement in Case 73-cv-04279 and
   the Alternative Employment Practice demonstrated to and urged that the
   Employer Defendants adopt.
285. This identification is to provide specificity of the members of the Percy
   Class who would be entitled to relief.
             XX.     COMMON ISSUES OF LAW AND FACT
286. The issues of law and fact determining the claims of the Percy Class, that
   the actions of the Defendant State and its DFS and the Employers named in
   this action, have caused, are causing, and will continue to cause serious,
   permanent and irreparable economic and social injury and damage to the
   Percy Class, are common to all members of the Class.
287. The common issues of law and fact must be determined in order to fashion
   an appropriate equitable remedy and provide equitable relief for the benefit
   of the Percy Class.
                      XXI.     JUDICIAL ECONOMY
288. This action avoids the prosecution of separate actions by multiplicity of
   actions involving the same individual members of the Percy Class and the
   same Owners which would create a likelihood of inconsistent or varying
   adjudications with respect to individual members of the Percy Class.
289. The Defendant Government Agencies, individually and collectively, alone
   and in concert with other still unidentified parties, cloaking themselves
   under the color of law, utilized and are still utilizing all the power of their
   government offices, in capricious and conspiratorial disregard to deny and
   to inflict damages on the Percy Class without justification. The Percy Class
   has been denied and deprived of an opportunity to compete effectively
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   within the American free enterprise system and as a result the members of
   the Percy Class have sustained serious and ongoing damages, and if the
   wrongdoing of the Defendants is not enjoined and prevented, the chronic
   damage will continue unabated.
  XXII.     AS AND FOR A FIRST CAUSE OF ACTION AGAINST
                DEFENDANT GOVERNMENT AGENCIES
290. The Plaintiffs repeat and reiterate the allegations set forth above as though
   fully set forth herein.
291. Defendant Government Agencies failed the settlement involving New York
   EO 45 (9 NYCRR 3.45) upon the final and enforceable Memorandum/Order
   (“Memorandum/Order”) of Judge Lasker reported at 384 F Supp 800 of
   November 8, 1974, settled by agreement accepting Defendant New York
   State’s offer of EO 45, but EO 45 failed, and the Percy Class was never
   notified (paragraph 89, 219 - 224).
292. The acts of Defendant Government Agencies and each of them have
   violated the Civil Rights Act of 1964, 42 USCA § 2000e, and d.
293. Plaintiff Percy and the Class he represents have been constantly denied due
   to such wrongful and illegal acts in violation of the Civil Rights Act of 1964,
   42 USCA § 2000e and depriving the Percy Class of opportunity, entitling the
   Percy Class to actual damages for lost wages, for lost opportunity and
   compensation as money damages, not limited to members of the Class, but
   also including members of the Percy Classes’ children and families,
   significantly disadvantaged in education and skills, struggling to get a job,
   damaging the families of the members of the Percy Class, in an amount to
   be determined at trial.
XXIII.     AS AND FOR A SECOND CAUSE OF ACTION AGAINST
                DEFENDANT GOVERNMENT AGENCIES
294. The Plaintiffs repeat and reiterate the allegations set forth above as though
   fully set forth herein.
295. The acts of Defendant Government Agencies and each of them have
   violated of the Fourteenth Amendment to the United States Constitution
   and 42 U.S.C. §§§1981, 1983 and 1985.

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296. Plaintiff Percy and the Class he represents have been constantly denied due
   to such wrongful and illegal acts in violation of the Fourteenth Amendment
   to the United States Constitution and 42 U.S.C. §§§1981, 1983 and 1985,
   depriving the Percy Class of opportunity, entitling the Percy Class to actual
   damages for lost wages, for lost opportunity and compensation as money
   damages, not limited to members of the Class, but also including members
   of the Percy Classes’ children and families, significantly disadvantaged in
   education and skills, struggling to get a job, damaging the families of the
   members of the Percy Class, in an amount to be determined at trial.
 XXIV.      AS AND FOR A THIRD CAUSE OF ACTION AGAINST
                 DEFENDANT GOVERNMENT AGENCIES
297. The Plaintiffs repeat and reiterate the allegations set forth above as though
   fully set forth herein.
298. The acts of Defendant Government Agencies and each of them violated EO
   11246.
299. Plaintiff Percy and the Class he represents have been constantly denied due
   to such wrongful and illegal acts in violation of EO 11246, depriving the
   Percy Class of opportunity, entitling the Percy Class to actual damages for
   lost wages, for lost opportunity and compensation as money damages, not
   limited to members of the Class, but also including members of the Percy
   Classes’ children and families, significantly disadvantaged in education and
   skills, struggling to get a job, damaging the families of the members of the
   Percy Class, in an amount to be determined at trial.
 XXV.      AS AND FOR A FOURTH CAUSE OF ACTION AGAINST
             DEFENDANT GOVERNMENT AGENCIES and the
             OFFICE OF FEDERAL CONTRACT COMPLIANCE
300. The Plaintiffs repeat and reiterate the allegations set forth above as though
   fully set forth herein.
301. The wrongful and improper violation of the law by the Defendant
   Government Agencies creates barriers which cannot be allowed to continue
   when the real and ultimate result is permanent irreparable serious damage
   to a protected class under the Constitution and federal law and as intended
   beneficiaries under contracts.

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302. The Percy Class, as the intended beneficiaries of the Federal Funding
   described herein, are entitled to an accounting relative to the Defendants’
   Compliance with Federal Funding described herein, and specifically are
   entitled to an accounting regarding Defendants’ utilization of Federal
   Funding in compliance with the Civil Rights Act of 1964, 49 CFR 21, 49 CFR
   23, and 49 CFR 26, as well as EO 11246.
303. The Percy Class is also entitled to an accounting as to how Defendant
   Government Agencies calculate both their compliance with these statutes
   and regulations, and, how they calculate and implement their required
   “affirmative action” intended for the direct benefit of the Class.
304. The Percy Class requests a full accounting as well as declaratory relief from
   this Honorable Court that they are entitled to this information, and that the
   Defendant Government Agencies be ordered to provide the same.
 XXVI.      AS AND FOR A FIFTH CAUSE OF ACTION AGAINST
                DEFENDANT GOVERNMENT AGENCIES
305. The Plaintiffs repeat and reiterate the allegations set forth above as though
   fully set forth herein.
306. The Defendant Government Agencies, individually and collectively, jointly
   and severally conspired and acted to frustrate the efforts of Percy limiting
   the effectiveness of the Percy Program in its support of the efforts of
   independent entrepreneurs to provide training to enable the Percy Class to
   compete for jobs which can lead to rewarding careers providing reliable and
   steady income and benefits for those workers and their families.
307. As an agency of the State of New York, the DFS is delegated extensive
   powers from the State government office of the Governor.
308. The State suspended the ability of the Percy Program to write business by
   wrongfully exercising Insurance Law §1104(c) on June 30, 2004. The State's
   wrongful suspension of the Percy Program on June 30, 2004 under Section
   1104(c) some three years later on June 28, 2007, too little and too late to
   prevent serious, permanent and irreparable damage to the Percy Program.
   The State unilaterally lifted the June 30, 2004 Order of Suspension.



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309. The DFS then issued an Order under 1310 of the Insurance Law on
   February 1, 2013 failing to recognize the approvals set forth herein, failing
   to abide by the Stipulation and Judgment of 2007.
310. Even though the impairment was addressed and cured in 2014, Deputy
   General Counsel for DFS Martha Lees provided a letter dated February 7,
   2019 that policies of the Program were unenforceable pursuant to the 1310
   Order still in effect, ignoring that the impairment was cured. Ms. Lees’ letter
   recklessly disregarded the fact that the impairment was cured. Ms. Lees
   consciously disregarded the fact that the impairment was addressed and
   ignored the precedent ratifying the prior accounting practice on these very
   same policies and insurance, by stating in her letter of February 7, 2019 that
   the 1310 Order was still in effect. Ms. Lees ignored Judge Julian’s Order of
   2007 specifically upholding the accounting principles and practices
   supporting the Program, a practice that provided for payment into a 114
   Trust for collateral for the self-insured high deductible loss sensitive
   Program. The Program submitted by File 93100407 November 15, 1994 was
   approved by the New York State Department of Insurance on December 8,
   1994. The Program is governed by 29 U.S.C. § 1003 of ERISA.
311. Ms. Lees showed further contempt for the Program and the motive of
   terminating use of the Program, in an affidavit of July 25, 2016 where she
   admits that she rejects the accounting practices and actuarial computations
   for the Program This places the benefit liability for the Program into the
   Property and Liability Insurance Security Fund, Guaranty Fund under N.Y.
   Ins. Law §7603 (a)(1)(D), even though Supreme Court Justice Robert Julian
   on the same issues held otherwise in Oneida County Supreme Court case
   CA2006-001542, where the Program was ratified.
312. Ms. Lees’ further complicity with the Employer Defendants and Lipsius
   and non-cooperation with the Carrier’s counsel Hitzke further demonstrates
   a conspiracy to liquidate the Carrier, putting it out of business, and place
   claim liability of the Employer Defendants into the Property and Liability
   Insurance Security Fund, Guaranty Fund under N.Y. Ins. Law §7603
   (a)(1)(D), thereby relieving the Employer Defendants of their liabilities.
313. Special knowledge incorporated into the operation of the Percy Program,
   is singular to Oriska, and does not exist anywhere else.
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314. The State's actions threatens and discriminates against “blacks” and
   “Spanish-surnamed” persons as the Percy Class by means of regulatory
   actions and proceedings brought by and at the instance of the Defendant
   State, were brought in bad faith or were initiated with and animated by
   motives based on retaliation, harassment, that has the effect of
   discrimination on the basis of race, national origin or gender, or other
   illegitimate motives, the State has evidenced an intent going back 20 years
   where the Defendant State has abused its power attempting to eliminate the
   Percy Program.
315. The Percy Class suffers and will continue to suffer similar serious,
   permanent and irreparable economic injury, loss and damage as a result of
   actions by the Defendants preventing implementation of apprenticeship
   programs which continue the successful efforts of Oriska Corp and Oriska
   Insurance in developing and implementing those programs to develop
   marketable skills among disadvantaged workers on the way to success in a
   free and openly competitive marketplace.
316. The State, individually and collectively in concert with other still
   unidentified parties, cloaking themselves with the mantle of public service,
   utilized and are still utilizing all the power of the State in a malevolent effort
   to deny opportunities for the Percy Class, due to such wrongful and illegal
   acts as aforesaid depriving the Percy Class of opportunity, entitling the Percy
   Class to actual damages for lost wages, for lost opportunity but also
   including members of the Percy Classes’ children and families, significantly
   disadvantaged in education and skills, struggling to get a job, damaging the
   families of the members of the Percy Class.
317. Demand is made to enforce the aforementioned Stipulation of accord and
   settlement and Judgment with the State by directing entry of a decree
   compelling specific performance of the terms of the Stipulation allowing the
   Percy Program to operate, and for other and further relief as to the court
   may seem just and proper to allow the operation of the Percy Program, and
   enter a declaratory judgment declaring that the acts of the Defendants and
   each of them to be in violation of the Percy Class’ rights to equal employment
   and enjoin the Defendants and each of them from further violation of such
   rights, declaring that damages must be stopped and rectified.
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XXVII.      AS AND FOR A SIXTH CAUSE OF ACTION AGAINST
            ORISKA INSURANCE AND ORISKA CORPORATION
318. The Plaintiffs repeat and reiterate the allegations set forth above as though
   fully set herein.
319. Oriska Insurance and Oriska Corporation have failed and/or neglected to
   protect the facilities needed to operate the Percy Program, causing the
   Oriska facilities to become impaired as determined by an order of the
   Superintendent of Insurance pursuant to Insurance Law 1310, undermining
   the availability of the singular credentials of Oriska Insurance and Oriska
   Corporation, affecting the Percy Program as a going enterprise.
320. Wrongful acts of parties not named as defendants, caused the alleged
   impairment of Oriska Insurance Company and Oriska Corporation in the
   Complaint by using off-shore reinsurance, reinsurance that the DFS
   determined did not transfer risk, causing the DFS to disallow the
   reinsurance, bringing all of the liabilities which had been transferred by
   others to an off-shore reinsurer back onto the books of Oriska Insurance.
321. The Percy Class seeks an order in the nature of a mandamus enjoining
   Defendants Oriska Insurance and Oriska Corporation to provide the
   facilities specifically developed for the Percy Program, the Percy Class
   having relied to its detriment on Oriska Insurance and Oriska Corporation’s
   ability to deliver the Percy Program as a vehicle for the Alternative
   Employment Practice.
                           XXVIII.      RELIEF
         Plaintiff Percy Class prays for:
         Issuance of an order permitting this litigation to proceed as a class
   action as previously certified in Case 73-cv-04279 under Federal Rules of
   Civil Procedure 23(a) and (b)(3) and order prompt notice to all class
   members that this litigation is pending;
         Declaration that the Defendants are precluded, under the doctrine of
   collateral estoppel, from denying the standing and class certification by the
   Memorandum/Order and Order;
         Declaration that the Defendants violated and continue to violate the

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 Memorandum/Order and Order by Defendants having failed to implement
 the settlement in Case 73-cv-04279 by regulations and executive orders to
 accomplish EO 11246 and the Memorandum/Order and Order in Case 73-
 cv-04279, and the settlement in Case 73-cv-04279, for relief affirmatively
 providing OJT training and related classroom instructions to develop skills
 and equal employment opportunity, in harmony with the Civil Rights Act of
 1964 and as amended in 1991, within the protections of the Fifth and
 Fourteenth Amendments to the Constitution, 42 U.S.C. § 1981;, and EO
 11246,
       Declaration that damages must be stopped and rectified;
        Award to Plaintiff Percy and the Class he represents actual damages
 for lost wages, for lost opportunity and compensation as money damages to
 be determined at trial in this litigation;
     Award to Plaintiff Percy and the Class he represents liquidated
 damages to be determined;
      Award to Plaintiff Percy and the Class he represents pre- and post-
 judgment interest at the statutory rate;
       Award to Plaintiff Percy and the class he represents attorneys' fees,
 costs, and disbursements;
       Enforcement of the aforementioned Stipulation of accord and
 settlement and Judgment with the State by directing entry of a decree
 compelling specific performance of the terms of the Stipulation allowing the
 Percy Program to operate and for other and further relief as to the court may
 seem just and proper to allow the operation of the Percy Program;
       Entry of a declaratory judgment declaring that the acts of the
 Defendants and each of them to be in violation of the Percy Class’ rights to
 equal employment and enjoin the Defendants and each of them from further
 violation of such rights;
       Entry of an order in the nature of a mandamus enjoining Defendants
 to provide an accounting of their acts;
       Entry of an order enjoining any further payment of Federal Funding
 until Defendants have implemented corrective policies and procedures,
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 conditions, covenants and obligations as asserted in this Complaint so as to
 prevent the further waste of Federal Funding by officials of the Defendants,
 and from denying the Percy Class their right to employment in connection
 with public works contracts through Defendants’ continued failure to abide
 by agreements, covenants, statutes, regulations, executive orders and other
 federally approved provisions guaranteeing the right to such affirmative
 action to empower the Percy Class with skills to compete for equal
 employment, and that Defendants provide an actual accounting providing
 actual evidence of the apprenticeship of the Class of members of the
 disenfranchised, and, pray that this Court enjoin any further payment of
 Federal Funding to Owners and Employers until Defendants have cured the
 breach of agreements, conditions, covenants and obligations as asserted in
 this Complaint and have mitigated the ongoing damage to the Percy Class
 and the waste of Federal Funding by taking remedial action to correct past
 wrongful conduct;
       Entry of an order in the nature of a mandamus enjoining Defendants
 Oriska Insurance and Oriska Corporation to provide the facilities
 specifically developed for the Percy Program;
      Treating this as a Private Attorney General Action under 42 U.S.C.
 1988 insofar as may be necessary to provide the relief requested in this
 Complaint together with reimbursement of attorneys fees, expert fees, costs
 and disbursements;
      ALL together with such other and further relief as shall seem just and
 proper under the circumstances.
       Dated: June 2, 2020
                                              s/_________________
                                         KERNAN PROFESSIONAL
                                         GROUP, LLP
                                         26 Broadway, 19th Floor,
                                         New York, New York 10004
                                         Phone:(212) 697-9084
                                         Fax (212) 656-1213
                                         jkernan@kernanllp.com

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